     Case 23-10410-mkn         Doc 103    Entered 05/23/23 14:41:10      Page 1 of 175




LISA A. RASMUSSEN, ESQ.
Nevada Bar No. 7491
THE LAW OFFICES OF KRISTINA
WILDEVELD & ASSOCIATES
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Las Vegas, NV 89104
Phone (702) 222-0007
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Lisa@Veldlaw.com
Counsel for The Law Offices of Kristina
    Wildeveld & Associates

                        UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEVADA

In re:                              )              Case No. 23-10410-mkn
                                    )              Chapter 11
TRACY LEE HURST-CASTL,              )
                                    )
                                    )
                  Debtor.           )              EXHIBITS IN SUPPORT OF
                                    )              RESPONSE TO OBJECTION TO
                                    )              PROOF OF CLAIMS NO. 6
                                    )
                                    )
                                    )              Hearing Date: June 14, 2023
                                    )              Hearing Time: 9:30 a.m.
____________________________________)


         Please see attached EXHIBITS IN SUPPORT OF RESPONSE TO OBJECTION TO

PROOF OF CLAIMS NO. 6, Exhibits A through L.

         Dated May 23, 2023.

                                                   THE LAW OFFICES OF KRISTINA
                                                    WILDEVELD & ASSOCIATES

                                                   /s/ Lisa A. Rasmussen
                                                   LISA A. RASMUSSEN
                                                   Nevada Bar No. 7491
                                                   550 E. Charleston Blvd., Ste. A
                                                   Las Vegas, NV 89104
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                                                   Counsel for The Law Offices of Kristina
                                                     Wildeveld & Associates


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     Case 23-10410-mkn        Doc 103     Entered 05/23/23 14:41:10        Page 2 of 175




                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was sent on May 23, 2023,
to the following via the Court’s ECF:

       Office of the United States Trustee
       Attn: Justin C. Valencia
       300 Las Vegas Blvd. South, Suite 4300
       Las Vegas, NN 89101
       Email: justin.c.valencia@usdoj.gov
       Attorney for United States Trustee

       Steven L. Yarmy
       7464 W. Sahara Avenue
       Las Vegas, NV 89117
       Email: sly@stevenyarmylaw.com
       Attorney for Debtor

       Michael W. Chen on behalf of Creditor DEUTSCHE BANK NATIONAL TRUST
       COMPANY, AS TRUSTEE, IN TRUST FOR REGISTERED HOLDERS OF LONG
       BEACH MORTGAGE LOAN TRUST 2006-6, ASSET-BACKED CERTIFICATES,
       SERIES 200606 bknotice@mccarthyholthus.com,
       chen@ecf.courtdrive.com; nvbkcourt@mccarthyholthus.com;
       mchen@mccarthyholthus.com

       Brian D. Shapiro
       brian@trusteeshapiro.com
       nv22@ecfcbis.com; kristen@trusteeshapiro.com; carolyn@brianshapirolaw.com

       U.S. Trustee – LV 11
       USTPRegion17.lv.ecf@usdoj.gov


                                                     THE LAW OFFICES OF KRISTINA
                                                      WILDEVELD & ASSOCIATES

                                                     /s/ Lisa A. Rasmussen
                                                     LISA A. RASMUSSEN
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                                                     Las Vegas, NV 89104
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                                                     Counsel for The Law Offices of Kristina
                                                       Wildeveld & Associates




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                    EXHIBIT A
        Complaint, District Court, Clark County, Nevada
                     Filed February 23, 2021
     Case 23-10410-mkn       Doc 103      Entered 05/23/23 14:41:10    Page 4 of 175
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LISA A. RASMUSSEN, ESQ.
Nevada Bar No. 7491
THE LAW OFFICES OF KRISTINA                                           CASE NO: A-21-829963-C
WILDEVELD & ASSOCIATES                                                         Department 24
550 E. Charleston Blvd., Suite A
Las Vegas, NV 89104
Phone (702) 222-0007
Fax (702) 222-0001
Lisa@Veldlaw.com
Attorneys for Plaintiff

                                    DISTRICT COURT

                              CLARK COUNTY, NEVADA

                                           *****

THE LAW OFFICES OF KRISTINA         )
WILDEVELD & ASSOCIATES, A           )
NEVADA LIMITED LIABILITY            )                Case No.
COMPANY,                            )
                                    )                Dept. No.
            Plaintiff,              )
                                    )
      vs.                           )
                                    )
TRACY HURST fka TRACY CASTL fka )
TRACY LEE HURST-CASTL,              )
INDIVIDUALLY and as TRUSTEE         )
OF THE MARY V. NAPHTALI             )
IRREVOCABLE TRUST and as            )
TRUSTEE OF THE TRACY LEE            )
HURST LIVING TRUST; THE MARY V. )
NAPHTALI IRREVOCABLE TRUST;         )
THE TRACY LEE HURST LIVING          )
TRUST; and DOE DEFENDANTS 1-5,      )
                                    )
            Defendants.             )
____________________________________)

                                       COMPLAINT




                                               -1-


                                   Case Number: A-21-829963-C
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       COMES NOW the Plaintiff, THE LAW OFFICES OF KRISTINA WILDEVELD &

ASSOCIATES, A NEVADA LIMITED LIABILITY COMPANY, and alleges as follows:


                                               I.

                                      JURISDICTION

       1. The acts alleged herein occurred in Clark County, Nevada.

       2.      The Plaintiff, THE LAW OFFICES OF KRISTINA WILDEVELD &

ASSOCIATES, a Nevada Limited Liability Company (hereinafter “Wildeveld”), is and was at

all times hereto a Nevada limited liability company duly authorized to do business in the State

of Nevada, with its primary place of business in Clark County, Nevada. As used within this

Complaint, the term “Wildeveld” includes any one or more attorneys, employees or agents

thereof acting on behalf of Wildeveld, including but not limited to, Attorney Kristina Wildeveld

and/or Attorney Lisa Rasmussen.

       3. The Defendant, TRACY LEE HURST fka TRACY LEE CASTL fka TRACY LEE

HURST CASTLE, is sued in her individual capacity, and in her capacities as Trustee of the

MARY V. NAPHTALI IRREVOCABLE TRUST and as Trustee of the TRACY LEE HURST

LIVING TRUST, and has resided in Clark County, Nevada at all relevant times herein in.

       4.   The Defendant, the MARY V. NAPHTALI IRREVOCABLE TRUST is wholly

owned and controlled by TRACY LEE HURST fka TRACY LEE CASTL fka TRACY LEE

HURST CASTLE, and is located at all relevant times herein in Clark County, Nevada.

       5.   The Defendant, the TRACY LEE HURST LIVING TRUST is wholly owned and

controlled by TRACY LEE HURST fka TRACY LEE CASTL fka TRACY LEE HURST

CASTLE, and is located at all relevant times herein in Clark County, Nevada.

       6.   At all times pertinent herein, there existed an identify of interest, ownership and
relationship between all named Defendants, such that Defendant Tracy Hurst, as identified in


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paragraph #3 above, controlled, managed and directed the affairs, business and monetary
interests of the Trust Defendants set forth in paragraphs ##4 and 5 above for her personal use
and benefit, and such that an individuality and separateness between them ceased to exist, as


said Trusts are a mere conduit for said individual Defendant’s personal benefit, and to recognize
the separate existence of said Trusts would be to countenance a sham and fraud upon
Wildeveld. By reason for the foregoing, the Defendant Trusts are the alter ego of Defendant
Tracey Hurst as fully identified in paragraph #3 above.
       7. At all times herein, Defendant Tracy Hurst, as identified in paragraph #3 above, was
acting on behalf and for the benefit of all named and unnamed Defendants within this complaint
and accordingly, the defendants are referred to herein collectively as “Hurst.”
       8. DOE DEFENDANTS 1-5 are unknown to Plaintiff at this time.
       9. All Defendants named above, individually and collectively, are identified herein as
“Hurst,” with the reference of any one including all others.
                                                II.
                                      RELEVANT FACTS
       10.    On or about August 24th, 2016 Hurst commenced a lawsuit against PennyMac

Holdings in the Eighth Judicial District Court, case no. A-16-742257-C (“PennyMac case”).

       11. Wildeveld is a law office which provides representation for clients in relation to a

variety of judicial proceedings in various courts, including the Eighth Judicial District Court.

       12.    In early April 2020, Hurst visited Wildeveld’s office seeking representation for

three legal matters, including the PennyMac case.

       13. During this visit Hurst informed Wildeveld that she had heard that Wildeveld were

“great lawyers,” that a friend had confidence in Wildeveld, and that Wildeveld had come

“highly recommended” to her.




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        14. On or about April 10, 2020, Wildeveld informed Hurst that it could represent Hurst

in the PennyMac case only, but due to the imminency of trial, a $50,000.00 retainer was

required to cover the minimum costs associated with taking the case to trial in an anticipated

short time frame.

        15. Hurst stated she could not afford $50,000.00 up front, but pledged to pay $5,000.00

up front, followed by uninterrupted monthly payments of at least $2,000.00.

        16.    Hurst represented that, in addition to the minimum payment of $2,000.00 per

month, she would pay most of her accumulated debts with Wildeveld in the event she obtained a

settlement in a pending car accident case.

        17. Hurst ensured Wildeveld that, as to her payments, she was “good for it”, and would

“make sure you get paid” for Wildeveld’s services.

        18. On April 14, 2020, Hurst and Wildeveld entered into a written agreement wherein

Wildeveld was to provide representation at standard office rates in exchange for Hurst providing

a retainer of $2,500.00, followed by minimum monthly payments of $2,000.00.

        19.   The written agreement further provided that Hurst would be required to pay an

additional $50.00 per month in which payment was missed.

        20. Immediately after appearing as counsel for Hurst in the PennyMac case, extensive

efforts were made to continue the May 2020 trial date due to Hurst’s medical issues and the

COVID pandemic.

        21. Immediate efforts were also undertaken to obtain the prior file from Hurst’s prior

counsel, a file that was in a total state of disarray.

        22. The trial was scheduled for early September and in August, Hurst stated that there

was no way she could participate in a trial given her health condition.




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        23.   Extensive efforts were again undertaken in seeking to continue the trial a second

time, but those efforts failed.



        24.   Trial preparation was undertaken despite the efforts to continue the trial and the

trial preparation included research, preparation of trial exhibits and binders, litigation over the

admissibility of certain materials and general preparation for Hurst’s trial.

        25.   Hurst did not make any payments in May, June, July or August, but did make a

$2,000 payment in September 2020.

        26.   In September 2020, Wildeveld represented Hurst over the course of a three-day

trial, culminating in a judgment in Hurst’s favor on one of her claims and a judgment against

her on two of her claims.

        27.   In early October 2020 Wildeveld had several conversations with Hurst about the

necessity of making payments, which Hurst indicated she would do.

        28. Upon further payment inquiry from Wildeveld on or about October 16, 2020, Hurst

stated she would soon “get back” to Wildeveld about making payments.

        29.    Beginning the very next day, October 17, 2020, Hurst ceased any further

communication with Wildeveld on the matter of payments and began to either hang up the

phone or otherwise simply not answer when Wildeveld called her.

        30.   At no time herein did Hurst ever inquire of Wildeveld about an extension on

payments, a reduction in monthly payment amounts, a reduction in the hourly rates charged, or

any other type of reductions in the matter of billing and payments.

        31. Wildeveld’s costs and services for representing Hurst in the PennyMac case totaled

approximately $67,000.00 of which $60,000.00 remains due and owing.




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       32.    Hurst’s unpaid balance to Wildeveld of $60,000.00 does not include fees for the

months in which no payments were made and those fees currently total $450 ($50 per month for

nine months). Accordingly, the outstanding balance is $60,450.00.

///


       33.    To the best of Wildeveld’s information and belief, Hurst did obtain monies via

settlement in the car accident matter; however, Hurst never paid any monies to Wildeveld

therefrom, as she had represented she would.

                                               III.

                 FIRST CAUSE OF ACTION – BREACH OF CONTRACT

                                    (Against all Defendants)

       34.    Plaintiff restates and hereby incorporates the allegations set forth in paragraphs 1

through 33.

       35. Under Nevada law, a breach of contract occurs when there exists a valid contract;

the plaintiff has performed the terms of the contract; the defendant has breached the terms of the

contract; and plaintiff has been damaged as a result of the defendant’s breach.

       36.      Hurst contracted with Wildeveld via signed agreement to receive legal

representation from Wildeveld in and for the proceedings in the PennyMac case in exchange for

Hurst paying all related fees via minimal monthly payments until all fees were satisfied.

       37.    At all times herein Wildeveld performed under the terms of the contract, and as

agreed by the parties therein, by providing representation in and for the PennyMac case, and

said performance was done for the benefit of all defendants.

       38. Wildeveld provided labor, time, resources and expenditures in its representation of

Hurst totaling approximately $67,000 for the benefit of all defendants.




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          39. Wildeveld has only been paid $7,000.00 for its services by Hurst and has received
no other payments on Hurst’s behalf by any other sources.
          40. Wildeveld has been damaged in Hurst’s unpaid amount of $60,000.00, plus fees for
months in which no payments have been made, and Wildeveld is entitled to judgment against
Hurst for the amount due and owing, together with interest thereon pursuant to NRS 17.130(2)
and/or any other applicable law.
          41.    Wildeveld has been forced to pursue this litigation, causing it to incur additional
attorney’s fees and costs and is therefore entitled to recover its attorney’s fees at the stated
contractual rate of $750 per hour and/or pursuant to any other application law, plus its costs of
suit.
                                                 IV.
                  SECOND CAUSE OF ACTION – UNJUST ENRICHMENT
                                      (Against All Defendants)
          42.   Plaintiff restates and hereby incorporates the allegations set forth in paragraphs 1
through 41.
          43. Under Nevada law, unjust enrichment occurs where plaintiff conferred a benefit on
the defendant; the defendant appreciated such benefit; and the defendant accepted and retained
such benefit under circumstances such that it would be inequitable for it to retain the benefit
without payment of the value thereof.
          44.   Wildeveld provided $67,000 of labor, time and resources in its representation of
Hurst.
          45. Hurst paid only $7,000.00 to Wildeveld.
          46.   Hurst has not paid the remaining $60,000.00, plus fees for months in which no
payments have been made.
          47.   Hurst appreciated the benefit of Wildeveld’s representation, whereby Hurst saw
Wildeveld prepare her PennyMac case for trial, proceed to trial, and obtain a favorable
judgment therein due to Wildeveld’s legal representation.




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          48. Hurst accepted and retained the benefit of this representation worth an outstanding
value of $60,000.00, plus fees for months in which no payments have been made, towards
Hurst’s benefit and enrichment, and to Wildeveld’s loss and detriment.
          49.    Hurst has been unjustly enriched in the amount of $60,000.00.
          50.    Wildeveld has been forced to pursue this litigation causing it to incur additional
attorney’s fees and costs and is therefore entitled to recover its attorney’s fees at the stated
contractual rate of $750 per hour and/or pursuant to any other application law, plus its costs of
suit.
          51.    Wildeveld is entitled to pre and post-judgment interest on any judgment awarded
to it based upon the unjust enrichment of Hurst.
                                                  V.
                             THIRD CAUSE OF ACTION – FRAUD
                                      (Against All Defendants)
          52. Plaintiff restates and hereby incorporates the allegations set forth in paragraphs 1
through 51.
          53.   Under Nevada law, fraud occurs when a false representation is made by the
defendant; the defendant has knowledge or belief that the representation is false (or knowledge
that it has an insufficient basis for making the representation); the defendant has an intention to
induce the plaintiff to act in reliance upon the misrepresentation (e.g., to consent to the
contract’s formation); the plaintiff justifiably relies upon the misrepresentation; and damage
occurs to the plaintiff resulting from its reliance upon the defendant’s misrepresentation.
          54. Hurst agreed to accept and pay for Wildeveld’s representation knowing that such
would cost no less than $50,000.00.
          55.   Hurst ensured Wildeveld that Hurst was “good for it” and would make sure
Wildeveld got paid in full and told Wildeveld how much she needed the assistance and that she
would do whatever was necessary to make sure her legal bills were paid.




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          56.   Hurst made the promise of paying Wildeveld with knowledge that she was
deceiving Wildeveld thereby, because Hurst knew that she never had any intention of keeping
her promise to pay Wildeveld the full amount for its representation in the PennyMac case.
          57.   Wildeveld relied upon Hurst’s promise to pay the full amount via installments
until paid in full.
          58.    Hurst accepted the terms of the agreement with Wildeveld with knowledge that
Wildeveld was relying upon Hurst’s promise to make payments until the full amount was paid,
and Hurst took advantage of that reliance, even though Hurst knew she had no intention of ever
paying Wildeveld in full for its legal representation and the costs associated therewith.
          59.   Hurst’s intentions to never pay her remaining legal balance are evidenced by her
refusal to work out any sort of payment arrangement, her avoiding calls from Wildeveld, and
her failure to make a single payment after early September 2020.
          60.   Wildeveld has been damaged as a result of the fraud and deception perpetrated
upon it by Hurst, and such damages are in excess of $60,000.00.
          61.   By reason of Hurst’s acts of fraud and deception, Wildeveld should also recover
punitive damages because of the unconscionable disregard that Hurst has shown towards
Wildeveld’s rights.
          62.   Wildeveld has been forced to pursue this litigation causing it to incur additional
attorney’s fees and costs and is therefore entitled to recover its attorney’s fees at the stated
contractual rate of $750 per hour and/or pursuant to any other application law, plus its costs of
suit.
          63.   Wildeveld is entitled to recover pre and post-judgment interest pursuant to
Nevada law upon any award of damages based upon Hurst’s fraudulent conduct.
...
...
...
...




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                                                 VI.
         FOURTH CAUSE OF ACTION – INTENTIONAL MISREPRESENTATION
                                      (Against All Defendants)
          64.   Plaintiff restates and hereby incorporates the allegations set forth in paragraphs 1
through 63.
          65.    Under Nevada law, intentional misrepresentation occurs where the defendant
makes a false representation to the plaintiff which is made with either knowledge or belief that
it is false or without sufficient foundation; the defendant intends to induce the plaintiff’s
reliance thereby; and plaintiff incurs damages as a result from its reliance thereon.
          66. Hurst’s contractual representation that she would pay Wildeveld for its services was
false, and was made with a knowledge or belief that that it was false, wherein Hurst did not
intend to fully compensate Wildeveld for its services at the time of entering said contract with
Wildeveld.
          67. Hurst entered into the contractual agreement with the intent to induce Wildeveld’s
reliance upon Hurst honoring her end of the contract to make monthly payments and to pay the
total sum of fees incurred in representing the case.
          68. Wildeveld relied upon Hurst’s promise to pay the full amount via installments.
          69. As a result of this reliance upon Hurst, Wildeveld has incurred damages in the
amount of $60,000.00, plus fees for months in which no payments have been made.
          70.    Wildeveld has been forced to pursue this litigation causing it to incur additional
attorney’s fees and costs and is therefore entitled to recover its attorney’s fees at the stated
contractual rate of $750 per hour and/or pursuant to any other application law, plus its costs of
suit.
          71.    Wildeveld is entitled to recover pre and post-judgment interest upon any award
of damages based on Hurst’s intentional misrepresentation to Wildeveld.
...
...




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PRAYER FOR RELIEF:
        WHEREFORE, Plaintiff prays that judgment be entered against the Defendants as set
forth above and as follows:
        1. For damages in excess of $60,000.00, plus pre and post-judgment interest thereon at
the legal rate;
        2. For consequential and incidental damages in an amount to be proven at trial;
        3. For punitive damages as deemed appropriate by the trier of the case on the Third and
Fourth Causes of Action;
        3. For attorney’s fees, together with court costs incurred in these proceedings; and
        4. For any other such relief as the Court may deem just and proper in this case.
Dated this 23rd day of February, 2021.


                                              THE LAW OFFICES OF KRISTINA
                                              WILDEVELD & ASSOCIATES


                                              /s/ Lisa Rasmussen
                                              ______________________________
                                              LISA RASMUSSEN, ESQ.
                                              Nevada Bar No. 7491
                                              550 E. Charleston Blvd., Suite A
                                              Las Vegas, NV 89104
                                              (702) 222-0007




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                     EXHIBIT B
Joint Case Conference Report, District Court, Clark County, Nevada
                       Filed October 8, 2021
    Case 23-10410-mkn       Doc 103      Entered 05/23/23 14:41:10    Page 16 of 175
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JCCR
LISA A. RASMUSSEN, ESQ.
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Phone (702) 222-0007
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Kristina@Veldlaw.com
Attorneys for Plaintiff


                                    DISTRICT COURT

                              CLARK COUNTY, NEVADA

                                           *****

THE LAW OFFICES OF KRISTINA         )
WILDEVELD & ASSOCIATES, A           )
NEVADA LIMITED LIABILITY            )                Case No. A-21-829963-C
COMPANY,                            )
                                    )                Dept. No. XXIV
            Plaintiff,              )
                                    )
      vs.                           )                       JOINT CASE
                                    )                   CONFERENCE REPORT
TRACY LEE HURST fka TRACY LEE       )
CASTL fka TRACY LEE HURST-CASTL, )
INDIVIDUALLY and as TRUSTEE         )
OF THE MARY V. NAPHTALI             )
IRREVOCABLE TRUST and as            )
TRUSTEE OF THE TRACY LEE            )
HURST LIVING TRUST; THE MARY V. )
NAPHTALI IRREVOCABLE TRUST;         )
and THE TRACY LEE HURST             )
LIVING TRUST,                       )
                                    )
            Defendants.             )
____________________________________)



       Plaintiff, THE LAW OFFICES OF KRISTINA WILDEVELD & ASSOCIATES, and

Defendants, TRACY LEE HURST fka TRACY-LEE CASTL fka TRACY LEE HURST-



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                                   Case Number: A-21-829963-C
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CASTL, and THE TRACY LEE HURST LIVING TRUST, submit their Joint Case Conference

Report pursuant to NRCP 16.1(c)(1)(A).

               DISPUTE RESULUTION CONFERENCE REQUIRED: NO

                    SETTLEMENT CONFERENCE REQUESTED: NO

                                                 I.

              PROCEEDINGS PRIOR TO CASE CONFERENCE REPORT

A.     DATE OF FILING OF COMPLAINT:

       February 23, 2021

B.     DATE OF FILING OF ANSWER BY EACH NAMED DEFENDANT:

       Tracy Hurst fka Tracy Castl fka Tracy Lee Hurst-Castl (Hurst): July 29, 2021

       The Mary V. Naphtali Irrevocable Trust: No Answer Filed. Plaintiff does not object to

permitting this Defendant to appear by amended answer.

       The Tracy Lee Hurst Living Trust (Hurst Trust): July 29, 2021

C.     DATE EARLY CASE CONFERENCE WAS HELD AND WHO ATTENDED:

       A joint case conference was held on September 13, 2021. Ms. Rasmussen attended for

Plaintiff. Byron Thomas attended for Defendants.

                                                II.

          A BRIEF DESCRIPTION OF THE NATURE OF THE ACTION AND
           EACH CLAIM FOR RELIEF OR DEFENSE [NRCP 16.1(c)(2)(A)]


A.     DESCRIPTION OF THE ACTION:

       This action alleges various claims concerning defendants’ refusal to pay Plaintiff in full

for legal representation per an agreement. Defendants deny liability for all of Plaintiff’s claims.

B.     PLAINTIFF’S CLAIMS FOR RELIEF:

       1. Breach of Contract


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       2. Unjust Enrichment

       3. Fraud

       4. Intentional Misrepresentation

C.     DEFENDANTS’ DEFENSES:

       1. Failure to State a Cause of Action

       2. Offset

       3. Waiver

       4. Estoppel, Unclean Hands, Laches

       5. Release

       6. In Pari Delicto

       7. Equitable Estoppel

       8. Full Performance

       9. Failure to Mitigate Damages

       10. Ratification of Acts

       11. Integration and Parole Evidence Rule

       12. Complaint Fails to State Allegations with Sufficient Clarity

                                               III.

      WHETHER THE PARTIES DID OR DID NOT CONSIDER SETTLEMENT
      AND WHETHER SETTLEMENT MAY BE POSSIBLE [NRCP 16.1(c)(2)(B)]

       Settlement was not considered, and at this time does not appear likely.



                                               IV.

                     PROPOSED PLAN AND SCHEDULE OF ANY
                    ADDITIONAL DISCOVERY [NRCP 16.1(c)(2)(C)]




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A.     WHAT CHANGES, IF ANY, SHOULD BE MADE IN TIMING, FORM
       OR REQUIREMENTS FOR DISCLOSURES UNDER 16.1(a):


       The parties have no view on this. Plaintiff’s initial disclosures under Rule 16.1(a)(1) are

being provided to defendants on September 13, 2021. Defendants will provide their disclosures

on or before October 15, 2021.

B.     THE SUBJECTS ON WHICH DISCOVERY WILL BE NEEDED:

       All subjects necessary to address all issues and allegations set forth in the pleadings and

any defenses asserted therein.

C.     WHEN DISCOVERY SHOULD BE COMPLETED:

       Discovery should be completed 182 days following the filing of this Joint Case

Conference Report, i.e., by March 9, 2022.

D.     SHOULD DISCOVERY BE CONDUCTED IN PHASES OR BE
       LIMITED TO OR FOCUSED ON PARTICULAR ISSUES:

       No.

E.     WHAT CHANGES, IF ANY, SHOULD BE MADE IN LIMITATIONS ON
       DISCOVERY IMPOSED UNDER RULE 16.1 AND WHAT, IF ANY,
       OTHER LIMITATIONS SHOULD BE IMPOSED?

       None.

F.     WHAT OTHER ORDERS SHOULD BE ENTERED BY THE COURT
       UNDER NRCP 26(c) OR NRCP 16(b) and (c):

       None.

                                               V.

                     LIST OF EXHANGED NAMES OF PERSONS
                 LIKELY TO HAVE INFORMATION DISCOVERABLE
                       UNDER RULE 26(B) [NRCP 16.1(c)(2)(D)]

       The following are the names of persons likely to have discoverable information:




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(A)     Lisa A. Rasmussen
        The Law Offices of Kristina Wildeveld & Associates
        550 E. Charleston Blvd., Suite A
        Las Vegas, Nevada 89104
        (702)222-0007

(B)     Kristina Wildeveld
        The Law Offices of Kristina Wildeveld & Associates
        550 E. Charleston Blvd., Suite A
        Las Vegas, Nevada 89104
        (702)222-0007

(C)     Tracy Lee Hurst
        P.O. Box 35937
        Las Vegas, Nevada 89133
        (702)739-4464

                                              VI.

        LIST OF ALL DOCUMENTS, DATA COMPILATIONS AND TANGIBLE
      THINGS IN THE POSSESSION, CUSTODY, OR CONTROL OF EACH PARTY
         WHICH WERE IDENTIFIED OR PROVIDED AT THE EARLY CASE
          CONFERENCE OR AS A RESULT THEREOF [NRCP 16.1(c)(2)(E)]


        Plaintiff provided the following documents to Defendants on September 13, 2021:

1.      Agreement for Representation, dated April 14, 2020 [Bates No. 0001]

2.      Substitution of Attorney, filed April 22, 2020 [Bates No. 0002-0004]

3.      Various Emails Related to Plaintiff’s Representation [Bates No. 0005-0644]

4.      Invoice No. 206, dated September 29, 2020 [Bates No. 0645-0662]

5.      Invoice No. 234, dated January 5, 2021 [Bates No. 0663-0667]

6.      Invoice No. 252, dated September 29, 2020 [Bates No. 0668-0673]

7.      Case Information, Castl v. PennyMac Holdings LLC, Case No.
        A-15-726907-J, filed October 29, 2015 [Bates No. 0674-0685]

8.      Case Information, Castl v. PennyMac Holdings LLC, Case No.
        A-16-742267-C, filed August 24, 2016 [Bates No. 0686-0709]




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9.      Case Information, Castl v. PennyMac Holdings LLC, Appeal No.
        71082-COA and 71082 [Bates No. 0710-0713]

10.     Case Information, Castl v. PennyMac Holdings LLC, Appeal No.
        71990-COA and 71990 [Bates No. 0714-0717]

11.     Order of Affirmance (Docket No. 71082) and Affirming in Part, Reversing
        In Part and Remanding (Docket No. 71990), filed May 9, 2018, Court
        Of Appeals of the State of Nevada [Bates No. 0718-0725]

12.     Substitution of Attorney, filed December 30, 2020 [Bates No. 0726-0728]

13.     Transfer of File, Dated January 5, 2021 [Bates No. 0729]

        Defendants will provide their available documents to Plaintiff on or before September

24, 2021.

                                               VII.

             WRITTEN LIST OF MEDICAL PROVIDERS [NRCP 16.1(c)(2)(F)]

        There are no medical providers to be identified.

                                              VIII.

            STATEMENT OF DAMAGE COMPUTATIONS [NRCP 16.1(c)(2)(G)]

        Per the contractual agreement of the parties, Plaintiff’s costs for representing defendants

in the PennyMac case totaled approximately $67,000, of which $60,000 remains due and owing.

In addition to this unpaid balance, defendants owe agreed upon fees for months in which no

payments were made, which currently total an additional $750.

        Pursuant to NRCP 16.1(a)(1)(A)(iv) and NRCP 34, copies of Plaintiff’s invoices

containing detailed accounting of time and expenses related to the damages herein have been

disclosed to defendants on September 13, 2021. [Bates No. 0645-0667]

                                               IX.

        LIST OF DISCLOSED INSURANCE AGREEMENTS [NRCP 16.1(c)(2)(H)]




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       There are no insurance agreements to be disclosed.

                                                X.

                  LIST OF DISCLOSED EXPERTS [NRCP 16.1(c)(2)(I)]

       There are no experts to be disclosed.

                                               XI.

        PRESERVING DISCOVERABLE INFORMATION [NRCP 16.1(c)(2)(J)]

       The parties have no statement on preserving discoverable information.

                                               XII.

                 CONFIDENTIAL INFORMATION [NRCP 16.1(c)(2)(K)]

       The parties have no statement concerning trade secrets or other confidential information.

The parties have made no agreement concerning a confidentiality order or whether a Rule 26(c)

motion for protective order will be made.

                                               XIII.

          DATE ON WHICH DISCOVERY WILL CLOSE [NRCP 16.1(c)(2)(L)]

       In accordance with Section IV(C) above, discovery will close 182 days from the date

below, or on the calendar date of March 9, 2022.

                                               XIV.

           DATE BEYOND WHICH PARTIES ARE PRECLUDED FROM
     FILING MOTIONS TO AMEND OR TO ADD PARTIES [NRCP 16.1(c)(2)(M)]


       The date beyond which the parties are precluded from filing motions to amend the

pleadings or to add parties unless by court order will be January 15, 2022.

                                               XV.

            DUE DATE FOR EXPERT DISCLOSURES [NRCP 16.1(c)(2)(N)]

       Plaintiff will not be implementing experts in this case.


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                                         XVI.

       DUE DATE FOR DISPOSITIVE MOTIONS [NRCP 16.1(c)(2)(O)]

  All dispositive motions must be filed not later than April 8, 2022.

                                         XVII.

    ESTIMATE OF TIME REQUIRED FOR TRIAL [NRCP 16.1(c)(2)(P)]

  The parties estimate 1 to 2 days.

                                         XVIII.

       STATEMENT OF JURY TRIAL DEMAND [NRCP 16.1(c)(2)(Q)]

  Neither party has demanded a jury trial.

  Dated this 8th day of October, 2021.

                                         THE LAW OFFICES OF KRISTINA
                                         WILDEVELD & ASSOCIATES
                                                /s/ Lisa Rasmussen
                                         LISA A. RASMUSSEN, ESQ.
                                         Nevada Bar No. 7491
                                         550 E. Charleston Blvd., Suite A
                                         Las Vegas, NV 89104
                                         (702) 222-0007

                                         Attorneys for Plaintiff


                                         BYRON E. THOMAS, ESQ.

                                                /s/ Byron E. Thomas
                                         BYRON E. THOMAS, ESQ.
                                         Nevada Bar No. 8906
                                         3275 S. Jones Blvd., #104
                                         Las Vegas, NV 89146
                                         Phone:         +1(702) 747-3103
                                         Facsimile:     +1(702) 543-4855
                                         byronthomaslaw@gmail.com

                                         Attorney for Defendants




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                     EXHIBIT C
DŽƟŽŶĨŽƌ^ƵŵŵĂƌǇ:ƵĚŐŵĞŶƚ, District Court, Clark County, Nevada
                         Filed April 4, 2022
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LISA A. RASMUSSEN, ESQ.
Nevada Bar No. 7491
THE LAW OFFICES OF KRISTINA
WILDEVELD & ASSOCIATES
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Las Vegas, NV 89104
Phone (702) 222-0007
Fax (702) 222-0001
Lisa@Veldlaw.com
Attorneys for Plaintiff

                                    DISTRICT COURT

                              CLARK COUNTY, NEVADA

                                           *****

THE LAW OFFICES OF KRISTINA         )
WILDEVELD & ASSOCIATES, A           )
NEVADA LIMITED LIABILITY            )                Case No.     A-21-829963-C
COMPANY,                            )
                                    )                Dept. No.    XXIV
            Plaintiff,              )
                                    )
      vs.                           )                   PLAINTIFF’S MOTION FOR
                                    )                     SUMMARY JUDGMENT
TRACY HURST fka TRACY CASTL fka )
TRACY LEE HURST-CASTL,              )
INDIVIDUALLY and as TRUSTEE         )
OF THE MARY V. NAPHTALI             )
IRREVOCABLE TRUST and as            )
TRUSTEE OF THE TRACY LEE            )
HURST LIVING TRUST; THE MARY V. )
NAPHTALI IRREVOCABLE TRUST;         )
THE TRACY LEE HURST LIVING          )
TRUST; and DOE DEFENDANTS 1-5,      )                Hearing Date Requested
                                    )
            Defendants.             )
____________________________________)


       COMES NOW the Plaintiff, THE LAW OFFICES OF KRISTINA WILDEVELD &

ASSOCIATES, A NEVADA LIMITED LIABILITY COMPANY (“Wildeveld”), and hereby



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                                   Case Number: A-21-829963-C
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files its Motion for Summary Judgment (“Motion”). This motion seeks summary judgment on

all four (4) causes of action enumerated within the Complaint.

         This motion is made pursuant to Nev. R. Civ. P. 56 and is based on the Points and

Authorities below, the attached exhibits, the declaration of Lisa Rasmussen (Exhibit 1), all

pleadings on file herein, and any oral argument presented at the time of hearing on this matter.

                                                 I.

                                        INTRODUCTION

         In 2016 Defendant Tracy Hurst fka Tracy Castl fka Tracy Lee Hurst-Castle (“Hurst”) 1

commenced an action against PennyMac Holdings (“PennyMac”). Represented by counsel,

Hurst proceeded through the case and a bench trial was calendared for May 11, 2020. In early

April 2020 Hurst consulted with Wildeveld about assuming representation in the PennyMac

case. Claiming to have limited funds, Hurst negotiated a greatly reduced initial payment to be

followed by monthly payments of not less than $2,000.00 and she also anticipated paying a

substantial sum from an auto accident settlement. Hurst repeatedly assured Wildeveld that as a

woman of honesty she would satisfy her debts.

         On April 14, 2020, Hurst and Wildeveld entered a written agreement upon the above

terms, including conditions that a monthly fee would be charged for any months in which

payments were not made and that any missed payments would allow Wildeveld to withdraw

representation. Hurst promptly paid the greatly reduced retainer and her first monthly payment.

          Wildeveld appeared in the PennyMac case on Hurst’s behalf on April 22, 2020, and at

Hurst’s behest, immediately obtained a trial continuance until September 2020. Wildeveld

expended extensive time and resources preparing for trial. As the trial date neared Hurst insisted



1
    “Hurst” also includes the trust defendants named in the Complaint.


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Wildeveld seek a second continuance, which was attempted and denied. That too took

substantial effort and required obtaining and submitting medical documentation and the like.

        A three-day trial began September 8, 2020. During trial Hurst made her second, and last,

monthly payment. Wildeveld reminded Hurst of the necessity to make payments, which over

time saw Hurst’s responses diminish from reassurances that payments would be made, to “I will

get back to you,” to Hurst’s ultimate assertion of having no resources to pay. Three (3) months

after trial, a judgment issued in favor of Hurst on one (1) claim and against her on two (2)

others. At Hurst’s insistence, Wildeveld substituted Hurst as counsel in the PennyMac case on

December 30, 2020.

        Wildeveld’s costs and services for representing Hurst in PennyMac totaled $66,998.58.

Hurst paid Wildeveld only $7,000.00, leaving an unpaid balance of $59,998.58. Hurst has failed

to make payments in twenty-two (22) of the twenty-four (24) months since she retained

Wildeveld. As such, Hurst owes Wildeveld an additional $1,100.00 for nonpayments, for a total

indebtedness of $61,098.58.

        The Complaint in this matter presents four causes of action in relation to Hurst’s refusal

to compensate Wildeveld for its representation: breach of contract, unjust enrichment, fraud,

and intentional misrepresentation. Wildeveld seeks summary judgment on these counts because

there are no disputed facts and the claims are entitled to judgment as a matter of law.

                                                II.

                          STATEMENT OF UNDISPUTED FACTS

        1. On or about August 24th, 2016, Hurst commenced a lawsuit against PennyMac in the

Eighth Judicial District Court, case no. A-16-742267-C (“PennyMac case”). Exhibit (“Ex.”) 5

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at BN 018, Dkt. No. 1. 2

       2. In early April 2020, Hurst visited Wildeveld Law’s office seeking representation for

several matters, including the PennyMac case. Ex. 1 at BN 002, ၁ 3.

       3. During this visit Hurst informed Wildeveld that she had been told the attorneys there

were “great lawyers,” that a friend had confidence in Wildeveld, and that Wildeveld had come

“highly recommended” to her. Id. at ၁ 4.

       4.   Hurst subsequently indicated to Attorney Rasmussen that she needed counsel

immediately on the PennyMac case. Id. at ၁ 5.

       5. Attorney Rasmussen then pulled documents from the court’s portal to analyze the

status and posture of the PennyMac case. Id. at ၁ 6.

       6. On or about April 10, 2020, Wildeveld informed Hurst that it could represent Hurst in

the PennyMac case only, but due to the imminency of trial, a $50,000.00 retainer was required

to cover the minimum costs associated with taking the case to trial in an anticipated short time

frame, as per Attorney Rasmussen’s hourly rate. Id. at ၁ 7.

       7. Hurst stated she could not afford $50,000.00 up front, but pledged to pay $5,000.00

up front, followed by uninterrupted monthly payments of at least $2,000.00. Id. at ၁ 8.

       8. Hurst ensured Wildeveld that, in addition to the minimum payment of $2,000.00 per

month, she would pay most of her accumulated debts with Wildeveld in the event she obtained a

settlement in a pending car accident case, which she represented would settle soon. Id. at BN

003, ၁ 9.




2
 Containing less than 100 pages, the exhibits are attached hereto and are referenced by Bates
number (“BN”) pursuant to EDCR 2.27(a), (b).


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         9. Hurst ensured Wildeveld that, as to her payments, she was “good for it,” and would

“make sure you get paid.” Hurst ensured Wildeveld she was of good character and true to her

word for paying her debts. Id. at ၁ 10.

         10. After making her first payment, Hurst assured Wildeveld that “I’m big on keeping

my word…” Id.; Ex. 4 at BN 014.

         11. Based upon these assurances from Hurst, Wildeveld gave Hurst the benefit of doubt

that she would pay them for its services. Ex. 1 at BN 003, ၁ 10.

         12. On April 14, 2020, Hurst and Wildeveld entered into a written agreement wherein

Wildeveld was to provide representation at standard office rates in exchange for Hurst’s retainer

of $2,500.00, followed by minimum monthly payments of $2,000.00. Id. at ၁ 11; Ex. 2 at BN

008.

         13. The written agreement also provided that missed payments would be billed an

additional $50.00 per month, and that missed payments could permit Wildeveld to demand

payment immediately. Ex. 1 at BN 003; ၁ 11; Ex. 2 at BN 008.

         14. Wildeveld appeared as counsel in PennyMac on April 22, 2020. Ex. 1 at BN 003, ၁

12; Ex. 3 at BN 010-012.

         15. Wildeveld immediately began extensive efforts to continue the May 2020 trial date

due to Hurst’s medical issues and the COVID pandemic, which resulted in a continuance being

granted until September 2020. Ex. 1 at BN 003, ၁ 12; Ex. 5 at BN 028-029.

         16. Wildeveld obtained Hurst’s case file from prior counsel and spent considerable time

organizing it before being able to work from it. Ex. 1 at BN 003, ၁ 13.

         17. In May, June and July of 2020, Wildeveld undertook substantial efforts helping

Hurst locate potential medical malpractice counsel related to her surgical wound issue. This

included consultations with multiple attorneys on her behalf, assembling medical records and


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sending statutorily required notices to her prior providers, per California law. Wildeveld

undertook all of these efforts at no cost to Hurst and have never billed her for these efforts, time,

services or costs. Id. at ၁ 14.

        18. With the trial scheduled for early September 2020, in August 2020 Hurst stated that

there was no way she could participate in a trial given her health condition. Id. at ၁ 15.

        19. At Hurst’s insistence, extensive efforts were again undertaken by Wildeveld in

seeking to continue the trial again, but those efforts were unproductive. Id. at BN 004, ၁ 16.

        20.    In addition to the continuance efforts, Wildeveld undertook extensive trial

preparation which included research, preparation of trial exhibits and binders, litigation over the

admissibility of certain materials and general preparation for Hurst’s trial. Id. at ၁ 17.

        21. Hurst did not make any payments in May, June, July or August of 2020, but did

make a $2,000 payment in September 2020. Id. at ၁ 18; Ex. 16 at BN 090.

        22. Due to Hurst’s assurances of making payments, Wildeveld did not invoke its right

under the written agreement to withdraw as counsel due to the missed payments. Instead,

Wildeveld continued to give Hurst the benefit of doubt that she would catch up on her payments

and dutifully represented her at trial. Ex. 1 at BN 004, ၁ 18; Ex. 2 at BN 008.

        23. In September 2020, Wildeveld represented Hurst over the course of a three-day trial,

culminating in a judgment in Hurst’s favor on one of her claims and a judgment against her on

two of her claims. Ex. 1 at BN 004, ၁ 19; Ex. 5 at BN 034-035.

        24. In early October 2020 Attorney Rasmussen had several conversations with Hurst

about needing to make payments, which Hurst indicated she would do. Ex. 1 at BN 004, ၁ 20.

        25. In early October 2020 Wildeveld asked Hurst about the car accident settlement and

Hurst did not disclose whether the case had settled or not. Id.




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       26. On October 16, 2020, Hurst told Attorney Rasmussen she would “get back” with

her about making payments; however, beginning the next day, October 17, 2020, Hurst stopped

discussing the matter of payments with Attorney Rasmussen altogether over the phone, and in

fact, she stopped answering counsel’s calls altogether. Id. at ၁ 21.

       27. On October 26, 2020, Wildeveld provided Hurst copies of Invoice No. 206, the

Client Statement of Account as of that date, various receipts, a copy of the contract, and an

explanation of the billing. Hurst thanked Attorney Rasmussen. Id. at ၁ 22; Ex. 6 at BN 041-061.

       28. Hurst informed Attorney Rasmussen by email on November 30, 2020, that she

would “address” payments “when I find a remedy and (sic) able.” Ex. 1 at BN 004, ၁ 23; Ex. 7

at BN 063. 3

       29. Upon providing Hurst a copy of the Notice of Entry of Order, Attorney Rasmussen

reminded Hurst that “[w]e still need you to make some effort to pay us. We have not received a

payment from you since September 2, 2020.” Ex. 1 at BN 004, ၁ 24; Ex. 8 at BN 065.

       30. On December 8, 2020, Hurst asked Wildeveld to file a substitution of herself as

counsel, stating that her “resources are exhausted at this time and (sic) actively seeking a

solution aside (sic) health priorities.” Ex. 1 at N 005, ၁ 25; Ex. 9 at BN 067.

       31. On December 30, 2020, Wildeveld filed the requested substitution. Ex. 15 at BN

083-085.

       32. Hurst and her co-defendant trusts own two (2) properties in Clark County, Nevada

having a combined total taxable value of $1,175,369.00, per current county assessor records.

Ex. 1 at BN 005, ၁ 26; Ex. 10 at BN 069-070; Ex. 11 at BN 072-073; Ex. 17 at BN 094-095.



3
 Portions of text have been redacted from Exs. 7, 8, 9 and 14. Ex. 1 at BN 006, ၁ 34. Hurst was
provided unredacted versions of these exhibits within Wildeveld’s NRCP 16.1 Initial
Disclosures on September 13, 2021. Id. at ၁ 33.


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       33. Hurst has frequently transferred ownership of her properties over the years among

various persons, entities and trusts, including the codefendant trusts herein. Ex. 1 at BN 005, ၁

27; Ex. 12 at BN 075-076; Ex. 13 at BN 078-079; Ex. 14 at BN 081.

       34. In addition to her real property above, Hurst owns a 2000 BMW 328i and a 2015

BMW 650i. Ex. 17 at BN 094-095.

       35. For the three (3) years between October 30, 2018, and October 30, 2021, i.e.,

including the period during which Wildeveld was representing Hurst herein, Hurst’s former

husband was paying for her car, car insurance, car maintenance, household expenses for the

Mirada Del Sol property, monthly mortgage for same, taxes and insurance for same, HOA Fees

for same, utilities for same, cell phone, monthly pool and lawn maintenance, and other required

maintenance for upkeep on said residence – all being bills Hurst did not have to pay. Ex. 17 at

095-096.

       36. Hurst has paid Wildeveld nothing since September 10, 2020. Ex. 1 at BN 004, ၁ 18;

Ex. 16 at BN 090.

       37. At no time herein did Hurst ever inquire of Wildeveld about receiving an extension

on payments, a reduction in monthly payment amounts, a reduction in the hourly rates charged,

or any other type of reductions in the matter of billing and payments. Ex. 1 at BN 005, ၁ 28.

       38. Attorney Rasumssen’s standard hourly rate has been $600.00 per hour since January

1, 2020, and it still her current hourly rate. Id. at BN 006, ၁ 33.

       39. Wildeveld’s costs and services for representing Hurst in the PennyMac case totaled

$66,998.58 of which $59,998.58 remains due and owing. Id. at ၁ 29; Ex. 16 at 090.

       40. Hurst’s unpaid balance to Wildeveld in ၁ 39 above does not include fees for the

months in which no payments were made, which currently total $1,100.00, i.e., $50.00 per

month for the 22 months of May 2020, June 2020, July 2020, August 2020, October, 2020,


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November 2020, December 2020, all twelve (12) months of 2021, and January through March

of 2022. Ex. 1 at BN 005, ၁ 30; Ex. 2 at BN 008; Ex. 16 at BN 090.

        41. Combining ၁၁ 39 and 40 above, as of the date below Hurst owes Wildeveld a total

of $61,098.58 in unpaid PennyMac fees and costs. Ex. 1 at BN 005, ၁ 31; Ex. 2 at BN 008; Ex.

16 at BN 090.

        42. To the best of Wildeveld’s information and belief, Hurst did obtain monies via

settlement in the car accident case; however, Hurst never paid any monies to Wildeveld

therefrom, as she promised she would. Ex. 1 at BN 005, ၁ 32.

                                              III.

                                  PROCEDURAL HISTORY

        Wildeveld filed its Complaint on February 23, 2021, Dkt. No. 1, and all three (3) named

defendants were served process on February 27, 2021, Dkt. Nos. 6, 7 and 8. Wildeveld

subsequently filed requests for default on all three (3) named defendants when they failed to

timely answer or appear. Dkt. Nos. 9, 10 and 11. However, before the Court’s clerk could act

upon the requests, Hurst filed a Notice of Removal of Action to the United States District Court

for the Central District of California on April 12, 2021. Dkt. No. 12. Finding Hurst had no

objectively reasonable basis for the removal, the federal court issued an Order of Remand in

July 2021. Dkt. Nos. 13 and 14.

        Albeit untimely, Hurst filed its Answer to Complaint on July 29, 2021. Dkt. No. 15. The

parties filed their Joint Case Conference Report on October 8, 2021, Dkt. No. 21, and the Court

issued the Scheduling and Trial Order on November 23, 2021, Dkt. No. 23. Trial is currently set

for June 27, 2022.

        Pursuant to the scheduling order, the instant motion for summary judgment is timely

filed. Id. at 1.


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                                               IV.

                                  STANDARD OF REVIEW

        Under the provisions for summary judgment,

               A party may move for summary judgment, identifying each
               claim or defense – or the part of each claim or defense – on which
               summary judgment is sought. The court shall grant summary
               judgment if the movant shows that there is no genuine dispute as
               to any material fact and the movement is entitled to judgment as a
               matter of law. The court should state on the record the reasons for
               granting or denying the motion.

NRCP 56(a).

        “[S]ummary judgment is appropriate ‘when the pleadings, depositions, answers to

interrogatories, admissions, and affidavits, if any, that are properly before the court demonstrate

that no genuine issue of material fact exists, and the moving party is entitled to judgment as a

matter of law.’” Cuzze v. Univ. & Cmty. College Sys., 123 Nev. 598, 602, 172 P.3d 131, 134

(2007)(quoting Wood v. Safeway, Inc., 121 Nev. 724, 731, 121 P.3d 1026, 1031 (2005)).

        The party moving for summary judgment bears the initial burden of showing the absence

of a genuine issue of material fact. Id. (citing Celotex Corp. v. Catrett, 477 U.S. 317, 323

(1986)). “If such a showing is made, then the party opposing summary judgment assumes a

burden of production to show the existence of a genuine issue of material fact.” Id. Because

Wildeveld is the moving party, it “must present evidence that would entitle it to a judgment as a

matter of law in the absence of contrary evidence.” Id. (citing NRCP 56(a), (e)).

        Based upon the undisputed facts above, summary judgment should be granted to

Wildeveld for each cause of action within the Complaint.

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                                                 V.

                                           ARGUMENT

       Because the facts are undisputed, Wildeveld is entitled to judgment as a matter of law on

each cause of action within the Complaint, as follows:

       A. WILDEVLD IS ENTITLED TO JUDGMENT ON ITS FIRST
             CAUSE OF ACTION FOR BREACH OF CONTRACT


       A breach of contract is the “material failure of performance of a duty arising under or

imposed by agreement.” Bernard v. Rockhill Dev. Co., 103 Nev. 132, 135, 734 P.2d 1238, 1240

(1987). Under Nevada law, a breach of contract occurs when there exists a valid contract; the

defendant has breached the terms of the contract; and the plaintiff has been damaged as a result

of the defendant’s breach. Rivera v. Peri & Sons Farms, Inc., 735 F.3d 892, 899 (9th Cir.

2013)(citing Saini v. Int’l Game Tech, 434 F.Supp.2d 913, 919-920 (D. Nev. 2006)(citing

Richardson v. Jones, 1 Nev. 405, 408 (1865)).

       First: Hurst contracted with Wildeveld to receive legal representation from Wildeveld in

the PennyMac case in exchange for Hurst’s payment of all fees and costs incurred by

Wildeveld, and by promising to do so with an initial payment of $2,500.00 followed by monthly

minimal payments of $2,000.00 until paid in full. Hurst also agreed to pay a $50.00 fee for

every month in which she did not make payments. The written fee agreement memorializing

these transactions constitutes a valid contract. Id.

       Second: Hurst paid Wildeveld only $7,000.00 for its services, with Hurst’s last payment

being in September 2020. Hurst’s failure to pay the remaining $61,098.58 which remains due

and owing demonstrates a breach of the contract. Id.

       Third: At all times herein Wildeveld performed under the terms of the contract by

providing representation for Hurst in the PennyMac case, and said performance was done for


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    Case 23-10410-mkn          Doc 103     Entered 05/23/23 14:41:10        Page 36 of 175




the benefit of all defendants. Wildeveld provided labor, time, resources and expenditures in its

representation of Hurst totaling approximately $66,998.58. Hurst’s failure to pay its agreed-

upon amount has directly caused Wildeveld to incur damages in the amount of $61,098.58. Id.

       Wildeveld is entitled to summary judgment against Hurst for the amount due and owing,

together with interest thereon pursuant to NRS 17.130(2) and/or any other applicable law,

wherein Wildeveld has demonstrated that Hurst has breached its contract with Wildeveld.

       B. WILDEVELD IS ENTITLED TO JUDGMENT ON ITS
             SECOND CAUSE OF ACTION FOR UNJUST ENRICHMENT


       The elements of unjust enrichment are:

                “[A] benefit conferred on the defendant by the plaintiff, appreciation
                by the defendant of such benefit, and acceptance and retention by
                the defendant of such benefit under circumstances such that it would
                be inequitable for him to retain the benefit without payment of the
                value thereof.”


Unionamerica Mortgage & Equity Trust v. McDonald, 87 Nev. 210, 212, 1273 (1981)(quoting
Dass v. Epplen, 424 P.2d 779, 780 (Colo. 1967)).

       “Unjust enrichment occurs when ever a person has and retains a benefit which in equity

and good conscious belongs to another.” Id.

       First: Wildeveld conferred upon Hurst the benefit of $66,998.58 in labor, time and

resources in its representation of Hurst, of which Hurst has paid Wildeveld only $7,000.00. For

a certainty, the unpaid $59,998.58 constitutes a “benefit” for the Hurst defendants. Id.

Additionally, Hurst benefits from not paying the $1,100.00 fees incurred by her for not making

payments. Id.

       Second: Hurst appreciated the benefit of Wildeveld’s representation, whereby

Wildeveld prepared her PennyMac case for trial, conducted the trial, and obtained in part a

favorable judgment because of Wildeveld’s legal representation. Id.


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        Third: Wildeveld, however, has incurred loss and detriment, and it would be inequitable

for Hurst to retain this benefit without compensation for the value thereof. Id. Indeed, the time

spent working on Hurst’s case was time that Ms. Rasmussen could have spent working on other

cases. The Wildeveld firm’s resources benefitted all defendants. Id.

        Wildeveld is entitled to summary judgment against Hurst for the amount due and owing,

together with interest thereon pursuant to NRS 17.130(2) and/or any other applicable law,

wherein Wildeveld has demonstrated that Hurst has unjustly enriched itself in this matter.

        Note: The unjust enrichment claim within the second cause of action is pled in the

alternative to the breach of contract claim within the first, as it hinges upon the enforceability of

the written contract in this case, to-wit:

        “An action based on a theory of unjust enrichment is not available when there is an

express, written contract, because no agreement can be implied when there is an express

agreement.” Id. (citing Am. Jur. 2d Restitution § 6 (1973)). However, where an existing contract

is no longer enforceable, or has expired, the inability to collect under it does not preclude the

recourse of unjust enrichment. Paracor Fin., Inc. v. Gen. Elec. Capital Corp., 96 F.3d 1151,

1167 (9th Cir. 1996).

        Therefore, the unjust enrichment claim should be considered in the event the Court

deems the written contract herein to be unenforceable for any reason.

        C. WILDEVELD IS ENTITLED TO JUDGMENT ON ITS THIRD
              CAUSE OF ACTION FOR FRAUD


        Parties to contracts have a duty “not to make false promises or fraudulently misrepresent

its intention to perform.” Bernard v. Rockhill Dev. Co., 103 Nev. 132, 135, 734 P.2d 1238, 1240

(1987). To demonstrate fraud, Wildeveld must prove five (5) elements: “(1) a false

representation, (2) the defendant’s knowledge or belief that the representation is false, (3) the


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    Case 23-10410-mkn          Doc 103      Entered 05/23/23 14:41:10          Page 38 of 175




defendant’s intention to induct the plaintiff’s reliance, (4) the plaintiff’s justifiable reliance, and

(5) damages.” Nev. State Educ. Ass’n v. Clark Cty. Educ. Ass’n, 137 Nev. Adv. Rep. 8, 2021

Nev. LEXIS 7 *23, 482 P.3d 665, 675 (2021). See also Lubbe v. Barba, 91 Nev. 596, 599, 540

P.2d 115, 117 (1975)(same).

       The undisputed facts in this case demonstrate the elements of fraud set forth in Nev.

State Educ. Ass’n:

       First: Hurst agreed to accept and pay for Wildeveld’s representation knowing that such

would cost no less than $50,000.00. Hurst repeatedly ensured Wildeveld that Hurst was “good

for it” – a person of her word – and would make sure Wildeveld got paid in full. This is a

textbook false representation. Id.

       Second: Hurst made the promise of paying Wildeveld with knowledge that she was

deceiving Wildeveld thereby and had no intention of paying Wildeveld the full amount for its

representation. Prior to trial, Hurst ensured she would be able to pay consistently until paid in

full. Following trial Hurst claimed to lack resources – a fact belied by Hurst’s ownership of two

properties valued at over one million dollars and two BMW vehicles, the apparent receiving of a

car wreck settlement, and Hurst’s generous divorce decree bestowing valuable property upon

her and relieving her of tremendous payment obligations. Hurst knew her representation to be

false, as she had the means to pay Wildeveld in full, but never had the intention to do so. Id.

       Hurst’s intentions to never pay her remaining legal balance are also evidenced by her

refusal to work out any sort of payment arrangement, her avoiding calls from Wildeveld, and

her failure to make a single payment after the trial was completed in September 2020. Hurst has

never attempted any resolution and instead has engaged in avoidance of any monetary

consequences as is evidenced by her fool’s errand removal to the federal court in California,

causing further delay in this case.


                                                 -14-
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       Third: Hurst’s repeated assurances of her honesty and the importance of paying bills

served to induce Wildeveld’s reliance on her. The timing of the three (3) payments Hurst did

make bolster this showing, to-wit: the first two upon retention loaned credibility to her claims of

honesty and ability to pay, and resulted in Wildveld’s devotion of tremendous resources to the

PennyMac case. The third and last payment, following several months of nonpayment, created

the false appearance that Hurst intended to continue making payments, and kept Wildeveld from

invoking its right to terminate representation due to non-payments prior to trial.

       Hurst entered into the agreement with Wildeveld knowing that Wildeveld was relying

upon Hurst’s assurances and promises, and Hurst took advantage of that reliance through

manipulation and craftily timed partial payments. This satisfies the third prong. Id.

       Fourth: Meanwhile, Wildeveld justifiably relied upon Hurst’s assurances of good

character and promises to pay in full and provided its services to Hurst because of that reliance.

Such reliance is demonstrated through not only Wildeveld’s initial decision to represent Hurst in

the PennyMac case, but also through Wildeveld’s decision to not invoke its right to terminate

representation after Hurst had failed to make payments in May, June, July and August of 2020.

This satisfies the fourth prong. Id.

       Fifth: Wildeveld has been damaged as a result of the fraud and deception perpetrated

upon it by Hurst, and such damages are presently in the amount of $61,098.58. Id.

       Wildeveld is entitled to summary judgment against Hurst for the amount due and owing,

together with interest thereon pursuant to NRS 17.130(2) and/or any other applicable law,

wherein Wildeveld has demonstrated that Hurst obtained its representation through fraud.

Punitive damages up to $300,000.00 are also warranted because Hurst’s fraudulent misconduct

sounds in tort and justifies such damages. Phillips v. Lynch, 101 Nev. 311, 312-313, 704 P.2d

1083, 1084 (1985); NRS 42.001(2); NRS 42.005(1)(b).


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       D. WILDEVELD IS ENTITLED TO JUDGMENT ON ITS FOURTH
             CAUSE OF ACTION FOR INTENTIONAL MISREPRSENTATION


       “Intentional misrepresentation is established by three factors: (1) a false representation

that is made with either knowledge or belief that it is false or without a sufficient foundation, (2)

an intent to induce another’s reliance, and (3) damages that result from this reliance.” Nelson v.

Heer, 123 Nev. 217, 225, 163 P.3d 420, 426 (2007). These elements exist here:

       First: Hurst’s contractual representation that she would pay Wildeveld for its services

was false and was made with a knowledge or belief that that it was false, wherein Hurst did not

intend to fully compensate Wildeveld for its services at the time of entering said contract with

Wildeveld. This is demonstrated by Hurst’s conduct of obtaining Wildeveld’s representation

through the manipulative use of repeated assurances of Hurst’s honesty, ability and commitment

to make consistent payments, followed by her making no payments at all once the trial was

completed.

       Hurst’s intentions to never pay in full are also evidenced by her refusal to work out any

sort of payment arrangement, her avoiding calls from Wildeveld, and her failure to make a

single payment after the trial was completed in September 2020. Incorporate as if fully set forth

herein Argument C, at p. 14:3-14, above.

       Second: Hurst induced Wildeveld to enter the contract under assurances that she was a

person of her word, was “good for it,” and possessed the means to make minimal monthly

payments. In fact, Hurst owned two properties valued at over one million dollars to back those

assurances. Additionally, Hurst dangled the carrot of a pending car wreck settlement to induce

Wildeveld’s entry into the contract. Incorporate as if fully set forth herein Argument C, at p.

14:18 through p. 15:3, above.




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        Third: Wildeveld relied upon Hurst’s assurances of honesty and promises to pay the full

amount via monthly payments, and as a direct result of this reliance Wildeveld entered the

contract with Hurst, continued to represent Hurst through the trial, and has resultantly incurred

damages in the amount of $61,098.58. Incorporate as if fully set forth herein Argument C, at p.

15:4-11, above.

        Wildeveld is entitled to summary judgment against Hurst for the amount due and owing,

together with interest thereon pursuant to NRS 17.130(2) and/or any other applicable law,

wherein Wildeveld has demonstrated that Hurst obtained representation through intentional

misrepresentation. Punitive damages up to $300,000.00 are also warranted because at all times

herein Hurst conducted herself with malice, whether express or implied, by intending to injure

Wildeveld or acting despicably with a conscious disregard for Wildeveld’s rights. Countrywide

Home Loans, Inc. v. Thitchener, 124 Nev. 725, 739, 744, 192 P.3d 243, 252, 255 (2008); NRS

42.001(3); NRS 42.005(1)(b).

                                              VI.

                                       CONCLUSION

        For the reasons set forth above, the undisputed facts herein demonstrate that Wildeveld

is entitled to summary judgment as a matter of law for Hurst’s breach of contract, unjust

enrichment, fraud, and intentional misrepresentation. Accordingly, Wildeveld respectfully

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                                              -17-
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requests that this Honorable Court grant summary judgment in favor of Wildeveld on each of its

claims as set forth herein.

       Dated this 4th day of April, 2022.
                                              THE LAW OFFICES OF KRISTINA
                                              WILDEVELD & ASSOCIATES

                                              /s/ Lisa A. Rasmussen
                                              ______________________________
                                              LISA A. RASMUSSEN, ESQ.
                                              Nevada Bar No. 7491
                                              550 E. Charleston Blvd., Suite A
                                              Las Vegas, NV 89104
                                              (702) 222-0007

                                              Attorney for Plaintiff


                               CERTIFICATE OF SERVICE

       I do certify that I served a true copy of the foregoing MOTION FOR SUMMARY

JUDGMENT on this 4th day of April, 2022, upon the person below pursuant to this Court’s efile

and serve:

   BYRON THOMAS
   Attorney for Defendants

                                                    /s/ Lisa A. Rasmussen
                                              __________________________________
                                              LISA A. RASMUSSEN, ESQ.
                                              Nevada Bar No. 7491

                                              Attorney for Plaintiff




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          EXHIBIT 1
                                                                           001
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                                                                           002
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                                                                           003
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          EXHIBIT 2
                                                                           007
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                                                                           008
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          EXHIBIT 3
                                                                           009
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                                                          Page 52 of 175
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                                                                           012
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          EXHIBIT 4
                                                                           013
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From:               TRACY HURST
To:                 kristina@veldlaw.com
Cc:                 Lisa Rasmussen
Subject:            Payment paid in full today:)
Date:               Monday, April 20, 2020 3:46:35 PM




Hi Kristine,

Johnnie informed me that he came in and paid you the full amount I promised. I’m so thankful he took care of my
obligation to you. I’m big on keeping my word and he knows this. Although I have been disheartened by “family”
I’m grateful he was able to make sure you were paid. Big relief for me.

He told me that you had some vandalism at your office, I’m sorry that sucks. I hope nobody got hurt.

Stay safe and well...this all shall pass, I pray so very soon as many are suffering!

Thank you again for yours and Lisa’s help and concern for my wellbeing. Like I said prior I will never forget your
kindness. True human Angel.

Sincerely,

Tracy



Sent from my iPhone




                                                                                                                     014
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          EXHIBIT 5
                                                                           015
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Case Information

A-16-742267-C | Tracy Castl , Plaintiff(s) vs. Pennymac Holdings LLC,
Defendant(s)

Case Number                 Court                       Judicial Officer
A-16-742267-C               Department 20               Johnson, Eric
File Date                   Case Type                   Case Status
08/24/2016                  Other Real Property         Reactivated




Party

Plaintiff                                               Active Attorneys 
Castl , Tracy Lee                                        Pro Se




Defendant                                               Active Attorneys 
Pennymac Holdings LLC                                   Lead Attorney
                                                        Maurice, Aaron R.
                                                        Retained



                                                        Attorney
                                                        Wood, Brittany
                                                        Retained



                                                        Attorney
                                                        Stern, Ariel E.
                                                        Retained



                                                        Attorney
                                                        Scaturro, Tenesa S.
                                                        Retained
                                                                                               016
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                                                    Attorney
                                                    Winslow, Natalie L
                                                    Retained



                                                    Attorney
                                                    Garner, Rex D.
                                                    Retained




Disposition Events


11/18/2016 Judgment 



Judicial Officer
Leavitt, Michelle

Judgment Type
Order of Dismissal With Prejudice



Monetary Judgment

    Debtors: Tracy Lee Castl (Plaintiff)

    Creditors: Pennymac Holdings LLC (Defendant)

    Judgment: 11/18/2016 Docketed: 11/22/2016




12/04/2020 Judgment 



Judicial Officer
Johnson, Eric

Judgment Type
Judgment



Monetary Judgment

                                                                                             017
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  Debtors: Pennymac Holdings LLC (Defendant)

  Creditors: Tracy Lee Castl (Plaintiff)

  Judgment: 12/04/2020 Docketed: 12/07/2020

  Total Judgment: $1.00

  Comment: Certain Claim




Events and Hearings


 08/24/2016 Complaint 


 Complaint

    Comment
    [1] Complaint to Determine Adverse Claims to Real Property - NRS
    40.010, for Damages for Trespass to Land and for Declaratory
    Judgment


 08/26/2016 Notice of Appearance 


 Notice of Appearance

    Comment
    [2]


 08/26/2016 Initial Appearance Fee Disclosure 


 Initial Appearance Fee Disclosure

    Comment
    [3]


 10/06/2016 Motion to Dismiss 


 Pennymac Holdings, LLC's Motion To Dismiss

    Comment
    [4] Pennymac Holdings, LLC's Motion to Dismiss


 10/25/2016 Notice of Change of Address 

                                                                                               018
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Notice of Change of Address

  Comment
  [5]


10/25/2016 Opposition to Motion to Dismiss 


Plaintiff's Opposition to Defendant's Motion to Dismiss

  Comment
  [6] Plaintiff's Opposition to Defendant's Motion to Dismiss


10/31/2016 Reply in Support 


Pennymac Holdings, LLC's Reply in Support of Motion To Dismiss

  Comment
  [7] Pennymac Holdings, LLC's Reply in Support of Motion to Dismiss



11/07/2016 Motion to Dismiss 


Motion to Dismiss

Judicial Officer
Leavitt, Michelle

Hearing Time
8:30 AM

Result
Granted With Prejudice

Comment
Pennymac Holdings, LLC's Motion To Dismiss

Parties Present 
 Plaintiff: Castl , Tracy Lee


11/18/2016 Order Granting Motion 


Order Granting Pennymac Holdings, LLC's Motion To Dismiss With
Prejudice

  Comment
  [8] Order Granting Pennymac Holdings, LLC's Motion to Dismiss
  With Prejudice


11/21/2016 Notice of Entry of Order for Dismissal With Prejudice 


Notice of Entry of Order Granting Pennymac Holdings, LLC's Motion to
Dismiss With Prejudice

  Comment
  [9] Notice of Entry of Order Granting Pennymac Holdings, LLC's
  Motion to Dismiss With Prejudice


12/16/2016 Notice of Appeal 


                                                                                              019
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Notice of Appeal

    Comment
    [10] Plaintiff's Notice of Appeal


02/08/2017 Substitution of Attorney 


Substitution of Counsel

    Comment
    [11]


02/22/2017 Notice 


Notice of Transcript Request

    Comment
    [12] Request for Transcript of Proceedings


03/23/2017 Recorders Transcript of Hearing 


Transcript of Proceedings Re: Pennymac Holdings, LLC's Motion to
Dismiss Monday, November 7, 2016

    Comment
    [13] Transcript of Hearing Held on November 7, 2016


06/12/2018 NV Supreme Court Clerks Certificate/Judgment - Affd/Rev Part



NV Supreme Court Clerks Certificate/Judgment - Affd/Rev Part

    Comment
    [14] Nevada Supreme Court Clerk's Certificate/Remittitur Judgment -
    Affirmed in Docket No. 71082 and Affirmed in Part, Reversed in Part
    and Remand in Docket No. 71990


07/02/2018 Case Reassigned to Department 20 


    Comment
    Reassigned From Judge Leavitt - Dept 12


11/08/2018 Notice of Hearing 


Notice of Hearing - NOH (CIV)

    Comment
    [15]



12/05/2018 Status Check 


Minutes - Status Check

Judicial Officer
Johnson, Eric


                                                                                               020
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Hearing Time
8:30 AM

Result
Matter Heard

Comment
Status Check: Court of Appeals Remand

Parties Present 
 Defendant

    Attorney: Scaturro, Tenesa S.


12/28/2018 Notice of Association of Counsel 


Notice - NOTC (CIV)

   Comment
   [16]


01/10/2019 Answer to Complaint 


Answer - ANS (CIV)

   Comment
   [17] Defendant Pennymac Holdings, LLC's Answer to Complaint



01/23/2019 Status Check 


Minutes - Status Check

Judicial Officer
Johnson, Eric

Hearing Time
8:30 AM

Result
Matter Continued

Parties Present 
 Defendant

    Attorney: Winslow, Natalie L

  Plaintiff: Castl , Tracy Lee



03/20/2019 Status Check 


Minutes - Status Check

Judicial Officer
Johnson, Eric

Hearing Time
8:30 AM

Result
Off Calendar
                                                                                             021
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Comment
Status Check: Counsel

Parties Present 
 Defendant

    Attorney: Wood, Brittany

    Attorney: Scaturro, Tenesa S.


04/08/2019 Notice of Early Case Conference 


Notice of Early Case Conference - NECC (CIV)

   Comment
   [18]


05/29/2019 Joint Case Conference Report 


Joint Case Conference Report - JCCR (CIV)

   Comment
   [19]


08/13/2019 Order 


Order - ORDR (CIV)

   Comment
   [20] Order to Appear for Mandatory Scheduling Conference (Parties
   Have Reached Joint Case Conference Report)


08/14/2019 Notice of Compliance 


Notice of Compliance - NOC (CIV)

   Comment
   [21]



08/28/2019 Mandatory Rule 16 Conference 


Minutes - Mandatory Rule 16 Conference

Judicial Officer
Johnson, Eric

Hearing Time
10:30 AM

Result
Trial Date Set

Parties Present 
 Defendant

    Attorney: Wood, Brittany

    Attorney: Scaturro, Tenesa S.


                                                                                            022
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09/13/2019 Scheduling Order 


Scheduling and Trial Order - SCHTO (CIV)

  Comment
  [22]


10/02/2019 Scheduling and Trial Order 


Scheduling and Trial Order - SCHTO (CIV)

  Comment
  [23] Order Setting Civil Trial


01/14/2020 Motion for Partial Summary Judgment 


Motion for Partial Summary Judgment - MPSJ (CIV)

  Comment
  [24] Defendant's Motion for Partial Summary Judgment; Hearing
  Requested


01/14/2020 Clerk's Notice of Hearing 


Clerk's Notice of Hearing - CNOC (CIV)

  Comment
  [25] Notice of Hearing


01/14/2020 Appendix 


Appendix - APEN (CIV)

  Comment
  [26] Appendix of Exhibits in Support of Defendant's Motion for Partial
  Summary Judgment


01/23/2020 Opposition to Motion 


Opposition - OPPS (CIV)

  Comment
  [27] Plaintiff's Opposition to Defendant's Motion for Partial Summary
  Judgment


02/03/2020 Notice of Change of Hearing 


Notice of Change of Hearing - NOCH (CIV)

  Comment
  [28]


02/12/2020 Supplement to Opposition 


Supplement - SUPPL (CIV)


                                                                                             023
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   Comment
   [29] Supplement to Plaintiff's Opposition to Defendant's Motion for
   Partial Summary Judgment


02/12/2020 Reply in Support 


Reply in Support - RIS (CIV)

   Comment
   [30] Defendant's Reply in Support of its Motion for Partial Summary
   Judgment



02/19/2020 Motion for Partial Summary Judgment 


Minutes - Motion for Partial Summary Judgment

Judicial Officer
Johnson, Eric

Hearing Time
10:30 AM

Result
Denied

Comment
Defendant's Motion for Partial Summary Judgment

Parties Present 
 Defendant

    Attorney: Maurice, Aaron R.

    Attorney: Scaturro, Tenesa S.

  Plaintiff: Castl , Tracy Lee


03/03/2020 Motion for Summary Judgment 


Motion for Summary Judgment - MSJD (CIV)

   Comment
   [31] Motion for Summary Judgment as to Trespass Claim; Hearing
   Requested


03/04/2020 Clerk's Notice of Hearing 


Clerk's Notice of Hearing - CNOC (CIV)

   Comment
   [32] Notice of Hearing


03/04/2020 Motion in Limine 


Motion in Limine - MLIM (CIV)

   Comment
   [33] Motion in Limine to Exclude Evidence of Damages; Hearing
   Requested

                                                                                              024
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03/04/2020 Clerk's Notice of Hearing 


Clerk's Notice of Hearing - CNOC (CIV)

  Comment
  [34] Notice of Hearing


03/16/2020 Opposition to Motion 


Opposition - OPPS (CIV)

  Comment
  [35] Plaintiff's Opposition to Defendant's Motion for Summary
  Judgment as to Trespass Claim


03/17/2020 Stipulation and Order 


Stipulation and Order - SAO (CIV)

  Comment
  [36] Stipulation and Order to Exclude Testimony and Exhibits


03/18/2020 Notice of Change of Address 


Change of Address - COA (CIV)

  Comment
  [37] Notice of Change of Firm and Address


03/19/2020 Notice of Entry of Order 


Notice of Entry of Order - NEOJ (CIV)

  Comment
  [38]


03/23/2020 Ex Parte Motion 


Motion - MOT (CIV)

  Comment
  [39] Ex-Parte Motion to Continue Trial


03/25/2020 Notice of Change of Hearing 


Notice of Change of Hearing - NOCH (CIV)

  Comment
  [40]



03/31/2020 Calendar Call 


Minutes - Calendar Call



                                                                                            025
   Case 23-10410-mkn              Doc 103     Entered 05/23/23 14:41:10   Page 68 of 175
Judicial Officer
Johnson, Eric

Hearing Time
8:30 AM

Result
Trial Date Set

Parties Present 
 Defendant

    Attorney: Maurice, Aaron R.

    Attorney: Garner, Rex D.


04/01/2020 Supplement 


Reply in Support - RIS (CIV)

   Comment
   [41] Supplement and Reply Supporting Motion in Limine to Exclude
   Evidence of Damages


04/01/2020 Reply in Support 


Reply in Support - RIS (CIV)

   Comment
   [42] Reply Supporting Motion for Summary Judgment as to Trespass
   Claim


04/02/2020 Notice of Change of Hearing 


Notice of Change of Hearing - NOCH (CIV)

   Comment
   [43]



04/07/2020 Motion for Summary Judgment 


Judicial Officer
Johnson, Eric

Hearing Time
8:30 AM

Result
Matter Continued

Comment
Defendant's Motion for Summary Judgment as to Tresspass Claim



04/07/2020 Motion in Limine 


Judicial Officer
Johnson, Eric

                                                                                           026
   Case 23-10410-mkn              Doc 103    Entered 05/23/23 14:41:10   Page 69 of 175
Hearing Time
8:30 AM

Result
Matter Continued

Comment
Defendant's Motion in Limine to Exclude Evidence of Damages



04/07/2020 All Pending Motions 


Minutes - All Pending Motions

Judicial Officer
Johnson, Eric

Hearing Time
8:30 AM

Result
Matter Continued

Parties Present 
 Defendant

    Attorney: Maurice, Aaron R.

    Attorney: Garner, Rex D.



04/14/2020 All Pending Motions 


Minutes - All Pending Motions

Judicial Officer
Johnson, Eric

Hearing Time
8:30 AM

Result
Matter Heard

Parties Present 
 Defendant

    Attorney: Maurice, Aaron R.

    Attorney: Garner, Rex D.



04/20/2020 Bench Trial 


Judicial Officer
Johnson, Eric

Hearing Time
9:00 AM

Cancel Reason
Vacated


                                                                                          027
   Case 23-10410-mkn              Doc 103      Entered 05/23/23 14:41:10   Page 70 of 175
04/21/2020 All Pending Motions 


Minutes - All Pending Motions

Judicial Officer
Johnson, Eric

Hearing Time
8:30 AM

Result
Matter Heard

Parties Present 
 Defendant

    Attorney: Maurice, Aaron R.

    Attorney: Garner, Rex D.


04/22/2020 Substitution of Attorney 


Substitution of Attorney - SUBT (CIV)

   Comment
   [44]


04/27/2020 Motion to Continue Trial 


Motion to Continue Trial - MTCT (CIV)

   Comment
   [45] Motion to Continue Trial Date; Hearing Requested


04/28/2020 Notice of Change of Hearing 


Notice of Change of Hearing - NOCH (CIV)

   Comment
   [46]


04/28/2020 Clerk's Notice of Hearing 


Clerk's Notice of Hearing - CNOC (CIV)

   Comment
   [47] Notice of Hearing


04/28/2020 Clerk's Notice of Hearing 


Clerk's Notice of Hearing - CNOC (CIV)

   Comment
   [48] Notice of Hearing


04/30/2020 Motion to Continue 


Motion for Order - MODR (CIV)
                                                                                            028
   Case 23-10410-mkn               Doc 103        Entered 05/23/23 14:41:10   Page 71 of 175
   Comment
   [49] Motion to Continue the Pretrial Memorandum Deadline


05/01/2020 Opposition to Motion 


Opposition to Motion - OPPM (CIV)

   Comment
   [50] Defendant's Opposition to Plaintiff's Motion to Continue Trial
   Date


05/04/2020 Clerk's Notice of Nonconforming Document 


Clerk's Notice of Nonconforming Document - CNND (CIV)

   Comment
   [51]



05/05/2020 Status Check 


Judicial Officer
Johnson, Eric

Hearing Time
8:30 AM

Result
Reset

Comment
Status Check: Trial



05/05/2020 Motion to Continue Trial 


Judicial Officer
Johnson, Eric

Hearing Time
8:30 AM

Result
Granted

Comment
Plaintiff Motion to Continue Trial Date



05/05/2020 All Pending Motions 


Minutes - All Pending Motions

Judicial Officer
Johnson, Eric

Hearing Time
8:30 AM


                                                                                               029
   Case 23-10410-mkn              Doc 103       Entered 05/23/23 14:41:10   Page 72 of 175
Result
Matter Heard

Parties Present 
 Defendant

    Attorney: Maurice, Aaron R.

    Attorney: Garner, Rex D.


05/05/2020 Clerk's Notice of Nonconforming Document and Curative
Action 


Clerk's Notice of Nonconforming Document and Curative Action -
CNNDCA (CIV)

   Comment
   [52] Clerk's Notice of Curative Action


05/05/2020 Clerk's Notice of Hearing 


Clerk's Notice of Hearing - CNOC (CIV)

   Comment
   [53] Notice of Hearing


05/06/2020 Order Granting Motion 


Order - ORDR (CIV)

   Comment
   [54] Order Granting Motion in Limine to Exclude Evidence of
   Damages for Trespass and Denying Motion for Summary Judgment
   as to Trespass Claim


05/07/2020 Notice of Entry of Order 


Notice of Entry of Order - NEOJ (CIV)

   Comment
   [55] Notice of Entry of Order Granting Motion in Limine to Exclude
   Evidence of Damages for Trespass and Denying Motion for
   Summary Judgment as to Trespass Claim



05/18/2020 Bench Trial - FIRM 


Judicial Officer
Johnson, Eric

Hearing Time
9:00 AM

Cancel Reason
Vacated



06/02/2020 Motion to Continue Trial 

                                                                                             030
   Case 23-10410-mkn              Doc 103      Entered 05/23/23 14:41:10   Page 73 of 175
Judicial Officer
Johnson, Eric

Hearing Time
8:30 AM

Cancel Reason
Vacated

Comment
Motion to Continue Trial Date



06/02/2020 Motion 


Judicial Officer
Johnson, Eric

Hearing Time
8:30 AM

Cancel Reason
Vacated

Comment
Plaintiff's Motion to Continue the Pretrial Memorandum Deadline



08/19/2020 Calendar Call 


Judicial Officer
Johnson, Eric

Hearing Time
8:30 AM

Result
Matter Heard

Parties Present 
 Defendant

    Attorney: Maurice, Aaron R.

    Attorney: Garner, Rex D.

  Plaintiff: Castl , Tracy Lee



08/19/2020 Status Check 


Judicial Officer
Johnson, Eric

Hearing Time
8:30 AM

Result
Matter Heard

Comment
Status Check: Pre-Trial Memo

                                                                                            031
   Case 23-10410-mkn              Doc 103      Entered 05/23/23 14:41:10   Page 74 of 175
Parties Present 
 Defendant

    Attorney: Maurice, Aaron R.

    Attorney: Garner, Rex D.

  Plaintiff: Castl , Tracy Lee



08/19/2020 All Pending Motions 


Minutes - All Pending Motions

Judicial Officer
Johnson, Eric

Hearing Time
8:30 AM

Result
Matter Heard

Parties Present 
 Defendant

    Attorney: Maurice, Aaron R.

    Attorney: Garner, Rex D.

  Plaintiff: Castl , Tracy Lee


08/31/2020 Pre-trial Memorandum 


Pre-trial Memorandum - PMEM (CIV)

   Comment
   [56] Defendant's Pretrial Memorandum


09/01/2020 Motion to Continue Trial 


Motion to Continue Trial - MTCT (CIV)

   Comment
   [57] Motion to Continue Trial Date; Hearing Requested


09/01/2020 Pre-trial Memorandum 


Pre-trial Memorandum - PMEM (CIV)

   Comment
   [58] Pretrial Memorandum



09/02/2020 Status Check 


Minutes - Status Check

Judicial Officer
Johnson, Eric

                                                                                            032
   Case 23-10410-mkn              Doc 103         Entered 05/23/23 14:41:10   Page 75 of 175
Hearing Time
9:00 AM

Result
Matter Heard

Comment
Status Check: Bench Trial

Parties Present 
 Defendant

    Attorney: Maurice, Aaron R.

    Attorney: Garner, Rex D.


09/02/2020 Clerk's Notice of Hearing 


Clerk's Notice of Hearing - CNOC (CIV)

   Comment
   [59] Notice of Hearing


09/02/2020 Opposition to Motion 


Opposition to Motion - OPPM (CIV)

   Comment
   [60] Defendant's Opposition to Plaintiff's Motion to Continue Trial
   Date



09/03/2020 Motion to Continue Trial 


Minutes - Motion to Continue Trial

Judicial Officer
Johnson, Eric

Hearing Time
3:15 PM

Result
Denied

Parties Present 
 Defendant

    Attorney: Maurice, Aaron R.

    Attorney: Garner, Rex D.


09/03/2020 Request for Judicial Notice 


Request for Judicial Notice - RFJN (CIV)

   Comment
   [61] Defendant's Request for Judicial Notice


09/04/2020 Trial Brief 


                                                                                               033
   Case 23-10410-mkn              Doc 103   Entered 05/23/23 14:41:10   Page 76 of 175
Trial Brief - TB (CIV)

   Comment
   [62] Defendant's Trial Brief



09/08/2020 Bench Trial 


Minutes - Bench Trial

Judicial Officer
Johnson, Eric

Hearing Time
9:00 AM

Result
Trial Continues

Parties Present 
 Defendant

    Attorney: Maurice, Aaron R.

    Attorney: Garner, Rex D.

  Plaintiff: Castl , Tracy Lee



09/09/2020 Bench Trial 


Minutes - Bench Trial

Judicial Officer
Johnson, Eric

Hearing Time
10:00 AM

Result
Trial Continues

Parties Present 
 Defendant

    Attorney: Maurice, Aaron R.

    Attorney: Garner, Rex D.

  Plaintiff: Castl , Tracy Lee



09/10/2020 Bench Trial 


Minutes - Bench Trial

Judicial Officer
Johnson, Eric

Hearing Time
10:00 AM

Result
Decision Made
                                                                                         034
  Case 23-10410-mkn                Doc 103        Entered 05/23/23 14:41:10   Page 77 of 175
Parties Present 
 Defendant

   Attorney: Maurice, Aaron R.

   Attorney: Garner, Rex D.

 Plaintiff: Castl , Tracy Lee


12/04/2020 Findings of Fact, Conclusions of Law and Judgment 


Findings of Fact, Conclusions of Law and Judgment

  Comment
  [63]


12/04/2020 Notice of Entry of Judgment 


Notice of Entry of Judgment - NJUD (CIV)

  Comment
  [64]


12/30/2020 Substitution of Attorney 


Substitution of Attorney - SUBT (CIV)

  Comment
  [65]


12/31/2020 Notice of Appeal 


Notice of Appeal - NOAS (CIV)

  Comment
  [66] Plaintiff's Notice of Appeal - NRAP 4


01/04/2021 Case Appeal Statement 


Case Appeal Statement - ASTA (CIV)

  Comment
  [67]


01/07/2021 Notice of Motion 


Notice of Motion

  Comment
  [68] Plaintiff's Notice of Motion for Relief from "Finding of Fact,
  Conclusion of Law and Judgment "- NRCP 60


02/04/2021 Response 


Response - RSPN (CIV)




                                                                                               035
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      Comment
      [69] Pennymac's Response to Plaintiff's Notice of Motion for Relief
      from "Findings of Fact, Conclusions of Law and Judgment" - NRC 60




Financial

Pennymac Holdings LLC
       Total Financial Assessment                                     $623.00
       Total Payments and Credits                                     $623.00


 8/29/2016          Transaction                                     $223.00
                    Assessment

 8/29/2016          Efile          Receipt #      Pennymac        ($223.00)
                    Payment        2016-83044-    Holdings
                                   CCCLK          LLC

 1/14/2020          Transaction                                     $200.00
                    Assessment

 1/14/2020          Efile          Receipt #      Pennymac        ($200.00)
                    Payment        2020-02618-    Holdings
                                   CCCLK          LLC

 3/3/2020           Transaction                                     $200.00
                    Assessment

 3/3/2020           Efile          Receipt #      Pennymac        ($200.00)
                    Payment        2020-13116-    Holdings
                                   CCCLK          LLC
Castl , Tracy Lee
       Total Financial Assessment                                     $318.00
       Total Payments and Credits                                     $318.00


 8/24/2016           Transaction                                    $270.00
                     Assessment

 8/24/2016           Efile          Receipt #           Castl ,   ($270.00)
                     Payment        2016-82019-         Tracy
                                    CCCLK               Lee

 12/16/2016          Transaction                                      $24.00
                     Assessment

 12/16/2016          Efile          Receipt #           Castl ,     ($24.00)
                     Payment        2016-121949-        Tracy
                                    CCCLK               Lee

                                                                                                 036
   Case 23-10410-mkn               Doc 103        Entered 05/23/23 14:41:10   Page 79 of 175
12/31/2020      Transaction                                         $24.00
                Assessment

12/31/2020      Payment          Receipt #            Castl;      ($24.00)
                (Mail)           2020-73407-          Tracy;
                                 CCCLK                Lee




Documents




 Initial Appearance Fee Disclosure

 Pennymac Holdings, LLC's Motion To Dismiss

 Notice of Change of Address

 Plaintiff's Opposition to Defendant's Motion to Dismiss

 Pennymac Holdings, LLC's Reply in Support of Motion To Dismiss

 Order Granting Pennymac Holdings, LLC's Motion To Dismiss With
 Prejudice

 Notice of Entry of Order Granting Pennymac Holdings, LLC's Motion to
 Dismiss With Prejudice

 Motion to Dismiss

 Notice of Appeal

 Substitution of Counsel

 Notice of Transcript Request

 Transcript of Proceedings Re: Pennymac Holdings, LLC's Motion to
 Dismiss Monday, November 7, 2016

 NV Supreme Court Clerks Certificate/Judgment - Affd/Rev Part

 Notice of Hearing - NOH (CIV)

 Minutes - Status Check

 Notice - NOTC (CIV)

 Answer - ANS (CIV)

 Minutes - Status Check

 Minutes - Status Check

 Notice of Early Case Conference - NECC (CIV)

 Joint Case Conference Report - JCCR (CIV)

 Order - ORDR (CIV)

 Notice of Compliance - NOC (CIV)

 Minutes - Mandatory Rule 16 Conference

 Scheduling and Trial Order - SCHTO (CIV)
                                                                                               037
  Case 23-10410-mkn              Doc 103
Scheduling and Trial Order - SCHTO (CIV)
                                                Entered 05/23/23 14:41:10   Page 80 of 175
Motion for Partial Summary Judgment - MPSJ (CIV)

Clerk's Notice of Hearing - CNOC (CIV)

Appendix - APEN (CIV)

Opposition - OPPS (CIV)
Notice of Change of Hearing - NOCH (CIV)

Supplement - SUPPL (CIV)

Reply in Support - RIS (CIV)

Minutes - Motion for Partial Summary Judgment

Motion for Summary Judgment - MSJD (CIV)

Clerk's Notice of Hearing - CNOC (CIV)

Motion in Limine - MLIM (CIV)

Clerk's Notice of Hearing - CNOC (CIV)

Opposition - OPPS (CIV)

Stipulation and Order - SAO (CIV)

Change of Address - COA (CIV)

Notice of Entry of Order - NEOJ (CIV)

Motion - MOT (CIV)

Notice of Change of Hearing - NOCH (CIV)

Reply in Support - RIS (CIV)

Reply in Support - RIS (CIV)

Notice of Change of Hearing - NOCH (CIV)

Minutes - Calendar Call

Minutes - All Pending Motions

Minutes - All Pending Motions

Minutes - All Pending Motions

Substitution of Attorney - SUBT (CIV)

Motion to Continue Trial - MTCT (CIV)

Notice of Change of Hearing - NOCH (CIV)

Clerk's Notice of Hearing - CNOC (CIV)

Clerk's Notice of Hearing - CNOC (CIV)

Motion for Order - MODR (CIV)

Opposition to Motion - OPPM (CIV)

Clerk's Notice of Nonconforming Document - CNND (CIV)

Clerk's Notice of Nonconforming Document and Curative Action -
CNNDCA (CIV)

Clerk's Notice of Hearing - CNOC (CIV)

Minutes - All Pending Motions

Order - ORDR (CIV)

Notice of Entry of Order - NEOJ (CIV)

Minutes - All Pending Motions

Pre-trial Memorandum - PMEM (CIV)

                                                                                             038
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Motion to Continue Trial - MTCT (CIV)
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Pre-trial Memorandum - PMEM (CIV)

Clerk's Notice of Hearing - CNOC (CIV)

Opposition to Motion - OPPM (CIV)

Request for Judicial Notice - RFJN (CIV)

Trial Brief - TB (CIV)

Minutes - Status Check

Minutes - Motion to Continue Trial

Minutes - Bench Trial

Minutes - Bench Trial

Minutes - Bench Trial

Findings of Fact, Conclusions of Law and Judgment

Notice of Entry of Judgment - NJUD (CIV)

Substitution of Attorney - SUBT (CIV)

Notice of Appeal - NOAS (CIV)

Case Appeal Statement - ASTA (CIV)

Notice of Motion

Complaint

Response - RSPN (CIV)




                                                                                          039
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          EXHIBIT 6
                                                                           040
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From:              TRACY HURST
To:                Lisa Rasmussen
Subject:           Re: Documents you requested
Date:              Monday, October 26, 2020 5:39:20 PM


Thank you Lisa. Talk tomorrow.


Sent from my iPhone


       On Oct 26, 2020, at 4:52 PM, Lisa Rasmussen <Lisa@veldlaw.com> wrote:



       Hi Tracy,

       I have fixed the billing entries that were listed at $650. Those were in error, my current
       hourly rate is $600. See the revised invoice attached hereto.

       Also, the retainer agreement is attached hereto. It indicates that we bill hourly, which
       is how we do hourly cases. Our hourly rates changes at the beginning of each year so
       we state that it is our “current standard rates” as indicated.

       And finally, I think you asked if you are going to be billed to talk to both of us
       tomorrow. No, we have never billed you for that when you have met with both of us
       and we would not do that tomorrow.

       Looking forward to talking to you.

       Lisa

       Lisa Rasmussen, Esq.
       Law Offices of Kristina Wildeveld & Associates
       550 E. Charleston Blvd.
       Las Vegas, NV 89101
       T. (702) 222-0007 | F. (702) 222-0001
       www.veldlaw.com



       Sent from Mail for Windows 10

       <Revised Sept 29 Invoice.pdf>
       <Hurst Fee Agreement.pdf>




                                                                                                    041
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                                        Attachment A

                                                                           042
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                                                                           043
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                                                                           044
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                                                                           045
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                                                                           046
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                                                                           047
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                                                                           048
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                                                                           049
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                                                                           050
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                                                                           051
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                                                                           052
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                                                                           053
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                                                                           054
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                                                                           055
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                                                                           056
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                                                                           057
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                                                                            058
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                                                                            059
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                                         Attachment B

                                                                            060
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                                                                            061
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          EXHIBIT 7
                                                                            062
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                                                                            063
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          EXHIBIT 8
                                                                            064
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                                                                            065
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          EXHIBIT 9
                                                                            066
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                                                                            067
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        EXHIBIT 10
                                                                            068
3/22/22, 2:05 PM                                                                                      Clark County Real Property
                   Case 23-10410-mkn                                Doc 103 Entered 05/23/23 14:41:10                                             Page 111 of 175
                                                                       Briana Johnson, Assessor
                      Assessor Map              Aerial View           Building Sketch             Ownership History                Neighborhood Sales   New Search


       GENERAL INFORMATION

       PARCEL NO.                                                        128-31-112-020
       OWNER AND MAILING ADDRESS                                         HURST TRACY LEE LIVING TRUST 50%
                                                                         NAPHTALI MARY V IRREVOCABLE TRUST 50%
                                                                         C/O T HURST-CASTL
                                                                         PO BOX 35937
                                                                         LAS VEGAS
                                                                         NV 89133
       LOCATION ADDRESS                                                  3910 WHITE FIR WAY
       CITY/UNINCORPORATED TOWN                                          MOUNT CHARLESTON
       ASSESSOR DESCRIPTION                                              RAINBOW CANYON UNIT #4
                                                                         PLAT BOOK 8 PAGE 1
                                                                         LOT 182 BLOCK 16



       RECORDED DOCUMENT NO.                                             * 20190108:01153
       RECORDED DATE                                                     JAN 8 2019
       VESTING                                                           NS-NS
       COMMENTS


                                       *Note: Only documents from September 15, 1999 through present are available for viewing.


       ASSESSMENT INFORMATION AND VALUE EXCLUDED FROM PARTIAL ABATEMENT

       TAX DISTRICT                                                      115
       APPRAISAL YEAR                                                    2021
       FISCAL YEAR                                                       2022-23
       SUPPLEMENTAL IMPROVEMENT VALUE                                    0
       INCREMENTAL LAND                                                  0
       INCREMENTAL IMPROVEMENTS                                          0




       REAL PROPERTY ASSESSED VALUE

       FISCAL YEAR                                                       2021-22                                                        2022-23
       LAND                                                              48300                                                          60375
       IMPROVEMENTS                                                      233010                                                         243325
       PERSONAL PROPERTY                                                 0                                                              0
       EXEMPT                                                            0                                                              0
       GROSS ASSESSED (SUBTOTAL)                                         281,310                                                        303,700
       TAXABLE LAND + IMP (SUBTOTAL)                                     803,743                                                        867,714
       COMMON ELEMENT ALLOCATION                                         0                                                              0
       ASSESSED
       TOTAL ASSESSED VALUE                                              281,310                                                        303,700
       TOTAL TAXABLE VALUE                                               803,743                                                        867,714


                                                         Click here for Treasurer Information regarding real property taxes.
                                                                             Click here for Flood Control Information.


       ESTIMATED LOT SIZE AND APPRAISAL INFORMATION

       ESTIMATED SIZE                                                    0.46 ACRES
       ORIGINAL CONST. YEAR                                              1988
       LAST SALE PRICE                                                   575400
https://maps.clarkcountynv.gov/assessor/AssessorParcelDetail/ParcelDetail.aspx?hdnParcel=12831112020&hdnInstance=pcl7
                                                                                                                                                                     069
                                                                                                                                                                       1/2
3/22/22, 2:05 PM                                                                                      Clark County Real Property
             Case 23-10410-mkn
       MONTH/YEAR
                                                                    Doc  103
                                                                      10/2010
                                                                                          Entered 05/23/23 14:41:10                          Page 112 of 175
       SALE TYPE                                                         T - TRUSTEE'S DEED
       LAND USE                                                          20.110 - SINGLE FAMILY RESIDENTIAL
       DWELLING UNITS                                                    1



       PRIMARY RESIDENTIAL STRUCTURE

       1ST FLOOR SQ. FT.                                5549             CASITA SQ. FT.                                            ADDN/CONV
       2ND FLOOR SQ. FT.                                1152             CARPORT SQ. FT.                                           POOL              NO
       3RD FLOOR SQ. FT.                                                 STYLE                            1.5 STORY-               SPA               YES
                                                                                                          FINISHED 2ND FL
       UNFINISHED BASEMENT SQ.                          0                BEDROOMS                         4                        TYPE OF           FRAME-
       FT.                                                                                                                         CONSTRUCTION      SIDING/SHINGLE
       FINISHED BASEMENT SQ. FT.                        2784             BATHROOMS                        5 FULL /1 HALF           ROOF TYPE         COMPOSITION
                                                                                                                                                     SHINGLE
       BASEMENT GARAGE SQ. FT.                          0                                                 FIREPLACE                            2
       TOTAL GARAGE SQ. FT.                              992


       ASSESSOR MAP VIEWING GUIDELINES

       MAP                                                               128311

                                                                         In order to view the Assessor map you must have Adobe Reader installed on your
                                                                         computer system.

                                                                         If you do not have the Reader it can be downloaded from the Adobe site by clicking the
                                                                         following button. Once you have downloaded and installed the Reader from the Adobe
                                                                         site, it is not necessary to perform the download a second time to access the maps.




                      Note: This record is for assessment use only. No liability is assumed as to the accuracy of the data delineated hereon.




https://maps.clarkcountynv.gov/assessor/AssessorParcelDetail/ParcelDetail.aspx?hdnParcel=12831112020&hdnInstance=pcl7
                                                                                                                                                                070   2/2
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        EXHIBIT 11
                                                                            071
3/22/22, 2:01 PM                                                                                      Clark County Real Property
                    Case 23-10410-mkn                               Doc 103 Entered 05/23/23 14:41:10                                             Page 114 of 175
                                                                       Briana Johnson, Assessor
                      Assessor Map              Aerial View           Building Sketch             Ownership History                Neighborhood Sales   New Search


       GENERAL INFORMATION

       PARCEL NO.                                                        138-20-818-035
       OWNER AND MAILING ADDRESS                                         NAPHTALI MARY V IRREVOCABLE TRUST 50%
                                                                         HURST TRACY LEE LIVING TRUST ETAL 50%
                                                                         C/O T CASTL
                                                                         PO BOX 35937
                                                                         LAS VEGAS
                                                                         NV 89133
       LOCATION ADDRESS                                                  8616 MIRADA DEL SOL DR
       CITY/UNINCORPORATED TOWN                                          LAS VEGAS
       ASSESSOR DESCRIPTION                                              SONOMA AT SUMMERLIN BY COLEMAN HOMES-PHASE 3
                                                                         PLAT BOOK 63 PAGE 61
                                                                         LOT 103 BLOCK 5



       RECORDED DOCUMENT NO.                                             * 20181109:01779
       RECORDED DATE                                                     NOV 9 2018
       VESTING                                                           NS-NS
       COMMENTS


                                        *Note: Only documents from September 15, 1999 through present are available for viewing.


       ASSESSMENT INFORMATION AND VALUE EXCLUDED FROM PARTIAL ABATEMENT

       TAX DISTRICT                                                      200
       APPRAISAL YEAR                                                    2021
       FISCAL YEAR                                                       2022-23
       SUPPLEMENTAL IMPROVEMENT VALUE                                    0
       INCREMENTAL LAND                                                  0
       INCREMENTAL IMPROVEMENTS                                          0




       REAL PROPERTY ASSESSED VALUE

       FISCAL YEAR                                                       2021-22                                                        2022-23
       LAND                                                              38850                                                          38850
       IMPROVEMENTS                                                      91219                                                          96038
       PERSONAL PROPERTY                                                 0                                                              0
       EXEMPT                                                            0                                                              0
       GROSS ASSESSED (SUBTOTAL)                                         130,069                                                        134,888
       TAXABLE LAND + IMP (SUBTOTAL)                                     371,626                                                        385,394
       COMMON ELEMENT ALLOCATION                                         0                                                              0
       ASSESSED
       TOTAL ASSESSED VALUE                                              130,069                                                        134,888
       TOTAL TAXABLE VALUE                                               371,626                                                        385,394


                                                          Click here for Treasurer Information regarding real property taxes.
                                                                             Click here for Flood Control Information.


       ESTIMATED LOT SIZE AND APPRAISAL INFORMATION

       ESTIMATED SIZE                                                    0.18 ACRES
       ORIGINAL CONST. YEAR                                              1996
       LAST SALE PRICE                                                   227000
https://maps.clarkcountynv.gov/assessor/AssessorParcelDetail/parceldetail.aspx?hdnParcel=13820818035&hdnInstance=pcl7
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             Case 23-10410-mkn
       MONTH/YEAR
                                                                    Doc  103
                                                                      3/1997
                                                                                           Entered 05/23/23 14:41:10                         Page 115 of 175
       SALE TYPE                                                         R - RECORDED VALUE
       LAND USE                                                          20.110 - SINGLE FAMILY RESIDENTIAL
       DWELLING UNITS                                                    1



       PRIMARY RESIDENTIAL STRUCTURE

       1ST FLOOR SQ. FT.                                 1501            CASITA SQ. FT.                                            ADDN/CONV
       2ND FLOOR SQ. FT.                                 1305            CARPORT SQ. FT.                                           POOL              YES
       3RD FLOOR SQ. FT.                                                 STYLE                            TWO STORY                SPA               YES
       UNFINISHED BASEMENT SQ.                           0               BEDROOMS                         5                        TYPE OF           FRAME-STUCCO
       FT.                                                                                                                         CONSTRUCTION
       FINISHED BASEMENT SQ. FT.                         0               BATHROOMS                        3 FULL                   ROOF TYPE         CONCRETE TILE
       BASEMENT GARAGE SQ. FT.                           0                                                FIREPLACE                            1
       TOTAL GARAGE SQ. FT.                              574


       ASSESSOR MAP VIEWING GUIDELINES

       MAP                                                               138208

                                                                         In order to view the Assessor map you must have Adobe Reader installed on your
                                                                         computer system.

                                                                         If you do not have the Reader it can be downloaded from the Adobe site by clicking the
                                                                         following button. Once you have downloaded and installed the Reader from the Adobe
                                                                         site, it is not necessary to perform the download a second time to access the maps.




                      Note: This record is for assessment use only. No liability is assumed as to the accuracy of the data delineated hereon.




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        EXHIBIT 12
                                                                            074
3/22/22, 2:35 PM                                                                                         Clark County Assessor
                    Case 23-10410-mkn                               Doc 103                Entered 05/23/23 14:41:10                         Page 117 of 175
         Assessor


                                                                    Briana Johnson, Assessor
                                                                             PARCEL OWNERSHIP HISTORY

       ASSESSOR DESCRIPTION

       RAINBOW CANYON UNIT #4 PLAT BOOK 8 PAGE 1 LOT 182 BLOCK 16


      CURRENT                                                                               RECORD DOC                 RECORD                  TAX    EST
      PARCEL NO.                   CURRENT OWNER                                 %          NO.                        DATE         VESTING    DIST   SIZE    COMMENTS


      128-31-112-020               HURST TRACY LEE LIVING                        50%        20190108:01153             1/8/2019     NS-NS      115    .46
                                   TRUST                                                                                                              AC

                                                                                 50%
                                   NAPHTALI MARY V
                                   IRREVOCABLE TRUST




      PARCEL          PRIOR                    %          RECORD DOC                  RECORD               VESTING         TAX    EST SIZE     COMMENTS
      NO.             OWNER(S)                            NO.                         DATE                                 DIST


      128-31-         HURST TRACY              50%        20151116:00630              11/16/2015           NS              115    SUBDIVIDED
      112-            LEE LIVING                                                                                                  LOT
      020             TRUST ETAL
                                               50%

                      CASTL TRACY
                      LEE


      128-31-         HURST TRACY              50%        20150326:01663              03/26/2015           NS              115    SUBDIVIDED
      112-            LEE LIVING                                                                                                  LOT
      020             TRUST ETAL
                                               50%


      128-31-         HURST TRACY                         20141223:02560              12/23/2014           NS              115    SUBDIVIDED
      112-            LEE LIVING                                                                                                  LOT
      020             TRUST


      128-31-         HURST TRACY                         20070607:04141              06/07/2007           NS              115    SUBDIVIDED   NR-
      112-            LEE                                                                                                         LOT          20101001:2512,20101208:2665
      020


      128-31-         CASA DE LA                          20060830:00424              08/30/2006           NS              115    SUBDIVIDED
      112-            PAZ L L C                                                                                                   LOT
      020


      128-31-         HURST TRACY                         20060131:03281              01/31/2006           NS              115    SUBDIVIDED
      112-            LEE                                                                                                         LOT
      020


      128-31-         ROUSE-                              19950512:01740              05/12/1995           NS              115    SUBDIVIDED
      112-            HURST TRACY                                                                                                 LOT
      020             L


      470-            REAL ESTATE                         19931119:00391              11/19/1993           NS              115    SUBDIVIDED
      205-            COLLATERAL                                                                                                  LOT
      001             MGT CO




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                    Case 23-10410-mkn                               Doc 103                Entered 05/23/23 14:41:10                      Page 118 of 175
      470-            BANK SUN                            19930727:00327              07/27/1993           NS              115   SUBDIVIDED
      205-            STATE                                                                                                      LOT
      001


      470-            HANNAH                              19920430:01349              04/30/1992           NS              115   SUBDIVIDED
      205-            HOLDING                                                                                                    LOT
      001             TRUST


                      CARPA
                      DOUGLAS J
                      TRS


      470-            MEISNER                             19910820:00416              08/20/1991           JT              115   SUBDIVIDED
      205-            JOHN A &                                                                                                   LOT
      001             ANNETTE M


      470-            J&A                                 19890518:00243              05/18/1989           NS              115   SUBDIVIDED
      205-            ENTERPRISES                                                                                                LOT
      001             INC


      470-            MEISNER                             19881007:00483              10/07/1988           JT              115   SUBDIVIDED
      205-            JOHN A &                                                                                                   LOT
      001             ANNETTE M


      470-            MEISNER                             19880420:00099              04/20/1988           NS              115   SUBDIVIDED
      205-            MARK S                                                                                                     LOT
      001


      470-            ALBRIGHT                            0434:0393805                06/14/1974           JT              115   SUBDIVIDED
      205-            BOB A &                                                                                                    LOT
      001             LORRAINE D


      470-            ALBRIGHT                            0434:0393805                06/14/1974                           110   SUBDIVIDED
      205-            BOB A &                                                                                                    LOT
      001             LORRAINE D


      470-            ALBRECQ                             0218:0177477                03/28/1972                           110   SUBDIVIDED
      205-            ROBERT W                                                                                                   LOT
      001             ETAL


      470-            MT                                                                                                   110   SUBDIVIDED
      205-            CHARLESTON                                                                                                 LOT
      001             LODGE & REC
                      CTR


      470-            MT                                                                                                   110   SUBDIVIDED   INITIAL
      205-            CHARLESTON                                                                                                 LOT
      001             LODGE & REC
                      CTR



                                                                    Click the following link to view the parcel geneology
                                                                                          Parcel Tree

                                        Note:£ Only documents from September 15, 1999 through present are available for viewing.

                                                NOTE: THIS RECORD IS FOR ASSESSMENT USE ONLY. NO LIABILITY IS ASSUMED
                                                         AS TO THE ACCURACY OF THE DATA DELINEATED HEREON.




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        EXHIBIT 13
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                           Assessor




                                                                    Briana Johnson, Assessor
                                                                            PARCEL OWNERSHIP HISTORY

       ASSESSOR DESCRIPTION

       SONOMA AT SUMMERLIN BY COLEMAN HOMES-PHASE 3 PLAT BOOK 63 PAGE 61 LOT 103 BLOCK 5


      CURRENT                                                                               RECORD DOC                 RECORD                       TAX       EST
      PARCEL NO.                   CURRENT OWNER                                 %          NO.                        DATE            VESTING      DIST      SIZE     COMMENTS


      138-20-818-035               NAPHTALI MARY V                               50%        20181109:01779             11/9/2018       NS-NS        200       .18
                                   IRREVOCABLE TRUST                                                                                                          AC

                                                                                 50%
                                   HURST TRACY LEE LIVING
                                   TRUST ETAL




      PARCEL              PRIOR OWNER(S)                            %          RECORD DOC                 RECORD                 VESTING   TAX     EST SIZE          COMMENTS
      NO.                                                                      NO.                        DATE                             DIST


      138-20-             CASTL TRACY LEE                           50%        20151116:00629             11/16/2015             NS        200     SUBDIVIDED
      818-035                                                                                                                                      LOT

                          HURST TRACY LEE LIVING                    50%
                          TRUST


      138-20-             HURST TRACY LEE LIVING                               20150326:01662             03/26/2015             NS        200     SUBDIVIDED
      818-035             TRUST ETAL                                                                                                               LOT


      138-20-             HURST TRACY LEE LIVING                    50%        20150326:01662             03/26/2015             NS        200     SUBDIVIDED
      818-035             TRUST ETAL                                                                                                               LOT

                                                                    50%


      138-20-             HURST TRACY LEE LIVING                               20060823:00670             08/23/2006             NS        200     SUBDIVIDED
      818-035             TRUST                                                                                                                    LOT


      138-20-             HURST TRACY                                          19970305:00187             03/05/1997             NS        200     SUBDIVIDED
      818-035                                                                                                                                      LOT


      138-20-             WEARDEN PAUL L &                                     19951122:00231             11/22/1995             JT        200     SUBDIVIDED
      818-035             MELISSA                                                                                                                  LOT


      138-20-             COLEMAN HOMES INC                                    19940822:01150             08/22/1994             NS        200     SUBDIVIDED
      818-035                                                                                                                                      LOT


      138-20-             COLEMAN HOMES INC                                    19930930:03075             09/30/1993             NS        200     7.51 AC           -.01A COR
      810-015


      138-20-             COLEMAN HOMES INC                                    19930930:03075             09/30/1993             NS        200     14.96 AC
      810-009


      138-20-             COLEMAN HOMES INC                                    19930930:03075             09/30/1993             NS        200     24.06 AC
      810-002


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      138-20-             HUGHES HOWARD                                        19910816:00779             08/16/1991             NS   200    24.06 AC
      810-002             PROPERTIES L P


      350-490-            HUGHES HOWARD                                        1852:1811924               12/28/1983             NS   200    229.00 AC   FR 350-480-
      006                 PROPERTIES L P                                                                                                                 010,490-
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                                                                                                Parcel Tree

                                        Note:£ Only documents from September 15, 1999 through present are available for viewing.

                                               NOTE: THIS RECORD IS FOR ASSESSMENT USE ONLY. NO LIABILITY IS ASSUMED
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        EXHIBIT 14
                                                                            080
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From:            TRACY HURST
To:              Lisa Rasmussen
Subject:         Re: Ownership history
Date:            Tuesday, September 8, 2020 8:38:19 AM



Mary V. Naphtali, Irrevocable Trust - yes I transferred half of to this Trust I am the Trustee and
my boys and I are the beneficiaries.                          when this is over and we prevail
Tracy Lee Hurst Living Trust will give MVN 50%.




From: Lisa Rasmussen <Lisa@veldlaw.com>
Sent: Tuesday, September 8, 2020 7:25 AM
To: TRACY HURST <tlhangel@hotmail.com>
Subject: Ownership history

I’m going to go through some of this for history/background:

Purchased May 1995 under the name Tracy L. Rouse-Hurst
Jan 2006, took title as Tracy Lee Hurst. This is the WaMu refinance/loan
Briefly Casa DeLaPaz, LLC
Return to Tracy Lee Hurst 6/2007
Tracy Lee Hurst Living Trust, Dec 2014

But who is the other owner that gets 50% in March 2015???
Then in November it looks like it goes to your trust and Tracy Castl in November 2015.




Lisa Rasmussen, Esq.
Law Offices of Kristina Wildeveld & Associates
550 E. Charleston Blvd.
Las Vegas, NV 89101
T. (702) 222-0007 | F. (702) 222-0001
www.veldlaw.com



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        EXHIBIT 15
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                    EXHIBIT D
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              District Court, Clark County, Nevada
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                                                                              COURTRT




                         Case Number: A-21-829963-C
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                    EXHIBIT E
       Minute Order, District Court, Clark County, Nevada
                       Dated May 23, 2022
                                       ELECTRONICALLY SERVED
           Case 23-10410-mkn      Doc 103 5/23/2022
                                            Entered2:03 PM
                                                     05/23/23 14:41:10          Page 155 of 175
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                                        DISTRICT COURT
                                     CLARK COUNTY, NEVADA


Collection of Accounts                   COURT MINUTES                                        May 23, 2022

A-21-829963-C           The Law Offices of Kristina Wildeveld & Associates, LLC, Plaintiff(s)
                        vs.
                        Tracy Hurst, Defendant(s)

May 23, 2022            1:00 PM          Minute Order

HEARD BY:       Ballou, Erika                         COURTROOM: Chambers

COURT CLERK:
                    Ro'Shell Hurtado

RECORDER:

REPORTER:

PARTIES
PRESENT:

                                        JOURNAL ENTRIES

- The Court having considered all papers and pleadings and determining that no hearing is necessary
hereby VACATES the hearing scheduled for May 24, 2022. On April 4, 2022, Plaintiff filed a Motion
for Summary Judgment. On May 2, 2022, Defendants untimely filed an Opposition and Request to
Extend Deadline to File Opposition. On May 5, 2022, Plaintiff filed an Opposition and Countermotion
to Strike Defendants Opposition to Motion for Summary Judgment. On May 17, 2022, Defendants
filed an Opposition to Plaintiff s Countermotion to Strike.

NRCP 56(a) states that the court shall grant summary judgment if the movant shows that there is no
genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law.
Under NRCP 56(c)(1), the facts must be supported by materials in the record, including depositions,
documents, electronically stored information, affidavits or declarations, stipulations, admissions,
interrogatory answers, or other materials. A factual dispute is genuine, and therefore summary
judgment is inappropriate, when the evidence is such that a rational trier of fact could return a
verdict for the nonmoving party. Wood v. Safeway, Inc., 121 Nev. 724, 731, 121 P.3d 1026 (2005). All
pleadings and proof must be construed in a light most favorable to the non-moving party, however,
the non-moving party must do more than simply show that there is some metaphysical doubt as to
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                                         Case Number: A-21-829963-C
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the operative facts in order to avoid summary judgment being entered in the moving party's favor.
The nonmoving party must, by affidavit or otherwise, set forth specific facts demonstrating the
existence of a genuine issue for trial or have summary judgment entered against him.

Additionally, EDCR Rule 2.25(a) provides that a motion or stipulation to extend time shall inform
the court of any previous extensions granted and state the reasons for the extension requested. A
request for extension made after the expiration of the specified period shall not be granted unless the
moving party, attorney or other person demonstrates that the failure to act was the result of
excusable neglect.

Here, the Court finds that Defendant had excusable neglect or good cause for the untimely filing of
their Opposition to Plaintiff s Motion for Summary Judgment. Ms. Hurst s May 1, 2022 declaration
states that she filed this declaration late due to my current medical issues requiring a major surgery
next month, i.e., June 2022. The Court finds that Ms. Hurst s declaration was needed to properly
respond to Plaintiff s Motion for Summary Judgment and that Defendants have demonstrated that
the failure to act was the result of excusable neglect. Therefore, Defendants request to extend the
deadline to file a reply to the Motion is GRANTED pursuant to EDCR 2.25. Accordingly, Plaintiff s
Countermotion to Strike Defendants Opposition is DENIED.

Additionally, the Court finds that Defendants have set forth specific facts demonstrating the existence
of a genuine issue of material fact that it is more appropriate for the trier of fact to determine at the
time of trial. Plaintiff s Motion for Summary Judgment is also DENIED. Furthermore, the Court does
not find that attorney s fees or sanctions are warranted in this case. Plaintiff s request for those fees
and sanctions for Defendants is hereby DENIED.

Defendants Counsel is directed to prepare a proposed order which is to be approved by Plaintiff s
Counsel as to form and content prior to submitting the order to chambers at
DC24Inbox@clarkcountycourts.us for review. It is so ordered.

CLERK S NOTE: This Minute Order was electronically served by Courtroom Clerk, Ro Shell
Hurtado, to all registered parties for Odyssey File & Serve.//rh




 PRINT DATE:     05/23/2022                    Page 2 of 2       Minutes Date:    May 23, 2022
Case 23-10410-mkn   Doc 103   Entered 05/23/23 14:41:10   Page 157 of 175




                    EXHIBIT F
            Minutes: Def’ƐDŽƟŽŶƚŽŽŶƟŶƵĞdƌŝĂů,
              District Court, Clark County, Nevada
                       Dated May 31, 2022
        Case 23-10410-mkn         Doc 103     Entered 05/23/23 14:41:10            Page 158 of 175

A-21-829963-C                               DISTRICT COURT
                                         CLARK COUNTY, NEVADA

Collection of Accounts                       COURT MINUTES                                        May 31, 2022
A-21-829963-C            The Law Offices of Kristina Wildeveld & Associates, LLC, Plaintiff(s)
                         vs.
                         Tracy Hurst, Defendant(s)
May 31, 2022               09:00 AM      Deft.'s Motion to Continue Trial on OST...Deft.'s Motion to Seal
                                         on OST...
HEARD BY:         Ballou, Erika                COURTROOM: RJC Courtroom 12C
COURT CLERK: Hurtado, Ro'Shell
RECORDER:         Schofield, Susan
REPORTER:
PARTIES PRESENT:
Byron E. Thomas                               Attorney for Defendant, Trustee
Lisa A. Rasmussen                             Attorney for Plaintiff

                                           JOURNAL ENTRIES
Byron Thomas, Esq. present via Bluejeans video conference.

Deft.'s Motion to Continue Trial on OST...Deft.'s Motion to Seal on OST...

Ms. Rasmussen indicated Deft. was supposed to have the surgery since their representation
in 2020; further indicated ongoing theme is the misuse of the legal system. Mr. Thomas
represented there is a letter from Deft.'s doctor stating Deft. can t give competent testimony.
COURT ORDERED, Deft.'s Motion to Seal on OST GRANTED; Deft.'s Motion to Continue
Trial CONTINUED for further information on surgery.

MOTION TO CONTINUE TRIAL CONTINUED TO 06.14.2022 9:00 AM




Printed Date: 6/8/2022                      Page 1 of 1                Minutes Date:          May 31, 2022
Prepared by: Ro'Shell Hurtado
Case 23-10410-mkn   Doc 103   Entered 05/23/23 14:41:10   Page 159 of 175




                    EXHIBIT G
        Minutes͗'ƌĂŶƟŶŐDef’ƐDŽƟŽŶƚŽŽŶƟŶƵĞdƌŝĂů,
              District Court, Clark County, Nevada
                       Dated June 14, 2022
        Case 23-10410-mkn          Doc 103     Entered 05/23/23 14:41:10            Page 160 of 175

A-21-829963-C                                DISTRICT COURT
                                          CLARK COUNTY, NEVADA

Collection of Accounts                        COURT MINUTES                                       June 14, 2022
A-21-829963-C             The Law Offices of Kristina Wildeveld & Associates, LLC, Plaintiff(s)
                          vs.
                          Tracy Hurst, Defendant(s)
June 14, 2022               09:00 AM      All Pending Motions
HEARD BY:         Ballou, Erika                 COURTROOM: RJC Courtroom 12C
COURT CLERK: Hurtado, Ro'Shell
RECORDER:         Schofield, Susan
REPORTER:
PARTIES PRESENT:
Byron E. Thomas                                Attorney for Defendant, Trustee
Lisa A. Rasmussen                              Attorney for Plaintiff

                                            JOURNAL ENTRIES
Byron Thomas, Esq. present via Bluejeans video conference.

Calendar Call...Defendant's Motion to Continue Trial...

Upon Court's inquiry, Mr. Thomas indicated Deft. had a tentative surgery date of July 14, 2022.
Ms. Rasmussen indicated she hadn't received any documentation from Mr. Thomas. The
Court advised Mr. Thomas to provide the parties with documentation; ORDERED, Deft.'s
Motion to Continue Trial GRANTED; matter SET for status check: trial setting.

06.28.2022 9:00 AM STATUS CHECK: TRIAL SETTING




Printed Date: 6/22/2022                      Page 1 of 1                Minutes Date:          June 14, 2022
Prepared by: Ro'Shell Hurtado
Case 23-10410-mkn   Doc 103   Entered 05/23/23 14:41:10   Page 161 of 175




                    EXHIBIT H
   DŝŶƵƚĞƐ͗dƌŝĂů^ĞƫŶŐ, District Court, Clark County, Nevada
                       Dated June 28, 2022
        Case 23-10410-mkn          Doc 103     Entered 05/23/23 14:41:10            Page 162 of 175

A-21-829963-C                                DISTRICT COURT
                                          CLARK COUNTY, NEVADA

Collection of Accounts                        COURT MINUTES                                       June 28, 2022
A-21-829963-C             The Law Offices of Kristina Wildeveld & Associates, LLC, Plaintiff(s)
                          vs.
                          Tracy Hurst, Defendant(s)
June 28, 2022               09:00 AM      Status Check: Trial Setting
HEARD BY:         Ballou, Erika                 COURTROOM: RJC Courtroom 12C
COURT CLERK: Hurtado, Ro'Shell
RECORDER:         Schofield, Susan
REPORTER:
PARTIES PRESENT:
Byron E. Thomas                                Attorney for Defendant, Trustee
Lisa A. Rasmussen                              Attorney for Plaintiff

                                            JOURNAL ENTRIES
Lisa Rasmussen Esq. and Byron Thomas, Esq. present via Bluejeans video conference.

Colloquy regarding trial dates. Following colloquy, COURT ORDERED, trial date SET.

11.01.2022 9:00 AM CALENDAR CALL

11.14.2022 1:00 PM BENCH TRIAL




Printed Date: 6/30/2022                      Page 1 of 1                Minutes Date:          June 28, 2022
Prepared by: Ro'Shell Hurtado
Case 23-10410-mkn   Doc 103   Entered 05/23/23 14:41:10   Page 163 of 175




                    EXHIBIT I
  Minutes: Calendar Call, District Court, Clark County, Nevada
                     Dated November 1, 2022
       Case 23-10410-mkn         Doc 103     Entered 05/23/23 14:41:10        Page 164 of 175

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                    EXHIBIT J
            Minutes: Def’ƐDŽƟŽŶƚŽŽŶƟŶƵĞ Trial,
              District Court, Clark County, Nevada
                     Dated December 5. 2022
        Case 23-10410-mkn           Doc 103     Entered 05/23/23 14:41:10            Page 166 of 175

A-21-829963-C                                 DISTRICT COURT
                                           CLARK COUNTY, NEVADA

Collection of Accounts                         COURT MINUTES                                 December 05, 2022
A-21-829963-C              The Law Offices of Kristina Wildeveld & Associates, LLC, Plaintiff(s)
                           vs.
                           Tracy Hurst, Defendant(s)
December 05, 2022            01:00 PM      All Pending Motions
HEARD BY:          Ballou, Erika                 COURTROOM: RJC Courtroom 12C
COURT CLERK: Schlitz, Kory
RECORDER:          Ward, Charisse
REPORTER:
PARTIES PRESENT:
Byron E. Thomas                                 Attorney for Defendant, Trustee
Lisa A. Rasmussen                               Attorney for Plaintiff

                                             JOURNAL ENTRIES
MOTION TO CONTINUE TRIAL... BENCH TRIAL...

Kristina Wildeveld present as Plaintiff.

Ms. Rasmussen filed an Opposition to the Motion last Friday. COURT STATED they have
reviewed the opposition, and the Court agrees there should be an examination of the therapist.
Ms. Rasmussen argued the Court does not have enough information on the record for the
Court to make a decision either way, and requested a hearing to bring the therapist to ensure
this is not another delay tactic. Mr. Thomas stated no objection to having the hearing, however
would request the Plaintiff's pay for the fees. Colloquy regarding scheduling of evidentiary
hearing. COURT ORDERED, bench trial VACATED; evidentiary hearing SET.

1/5/2023 1:30 P.M. EVIDENTIARY HEARING RE: DOCTORS TESTIMONY




Printed Date: 12/13/2022                      Page 1 of 1                Minutes Date:     December 05, 2022
Prepared by: Kory Schlitz
Case 23-10410-mkn   Doc 103   Entered 05/23/23 14:41:10   Page 167 of 175




                    EXHIBIT K
   DŝŶƵƚĞƐ͗^ĞƫŶŐdƌŝĂů, District Court, Clark County, Nevada
                      Dated January 5, 2023
        Case 23-10410-mkn          Doc 103    Entered 05/23/23 14:41:10            Page 168 of 175

A-21-829963-C                               DISTRICT COURT
                                         CLARK COUNTY, NEVADA

Collection of Accounts                       COURT MINUTES                                  January 05, 2023
A-21-829963-C            The Law Offices of Kristina Wildeveld & Associates, LLC, Plaintiff(s)
                         vs.
                         Tracy Hurst, Defendant(s)
January 05, 2023           01:30 PM      Evidentiary Hearing: Re Doctor's Testimony
HEARD BY:          Ballou, Erika               COURTROOM: RJC Courtroom 12C
COURT CLERK: Atkins, Ron; Natali, Andrea
RECORDER:          Hurtado, Ro'Shell
REPORTER:
PARTIES PRESENT:
Byron E. Thomas                               Attorney for Defendant, Trustee
Lisa A. Rasmussen                             Attorney for Plaintiff

                                           JOURNAL ENTRIES
COURT NOTED, a motion to continue had been filed; however, it did not agree that this matter
should be continued, as it was already continued from firm setting in December, wherein Mr.
Thomas had indicated his client had medical issues, and the doctor was supposed to be here
to address the medical issues. Mr. Thomas stated the witness stated she was not qualified to
offer an opinion about whether Ms. Hurst could testify; additionally, he was trying to get a
psychological examination done, but the examinations were being scheduled 6 months out,
and he had been trying to get that done in an earlier timeframe; therefore, requested this
matter be set on the next trial stack. Ms. Rasmussen stated that Katrina Harris had refused to
appear on this matter, and advised that she was going to inquire when Ms. Hurst had been
consulted on this matter, but she was not here to address that. Additionally, Ms. Rasmussen
stated she agreed with the court; however, advised that she would agree to set the matter for a
bench trial setting. Mr. Thomas stated all of the motions had been filed in good faith.
Following colloquy regarding counsel's availability, COURT ORDERED, matter SET for trial as
a FIRM setting in February, and ADVISED counsel that this trial will need to proceed on the
date set, unless this matter gets settled.

1/24/23 - 9:00 AM - CALENDAR CALL

2/27/23 - 1:00 PM - BENCH TRIAL - FIRM




Printed Date: 1/6/2023                       Page 1 of 1               Minutes Date:       January 05, 2023
Prepared by: Andrea Natali
Case 23-10410-mkn   Doc 103   Entered 05/23/23 14:41:10   Page 169 of 175




                    EXHIBIT L
 ^ƵŐŐĞƐƟŽŶŽf Bankruptcy, District Court, Clark County, Nevada
                      Filed February 4, 2023
Case 23-10410-mkn   Doc 103   Entered 05/23/23 14:41:10   Page 170 of 175
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